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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA
RANDY LANGER and JAMES LANGER, CIVIL ACTION

Plaintiffs, No. 2:16-cv-06130-HB

CAPITAL ONE AUTO FINANCE, a division of
CAPITAL ONE, N.A.,

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Defendant )

CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE

EXHIBIT

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CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE

Subject to approval by the Court and in exchange for the good and valuable consideration
set forth herein, this Class Action Settlement Agreement and Release (this ‘““Agreement”) is
entered into by and between Plaintiffs, Randy Langer and James Langer (“Plaintiffs’’), on their
own behalf and on behalf of the Class Members, and Capital One Auto Finance, a division of
Capital One, N.A. (“COAF”), each a “Party” and, collectively, the “Parties.”!

1. RECITALS

WHEREAS, on or about August 29, 2012, Plaintiffs entered into a retail installment sales
contract loan with an automobile dealership in connection with the purchase of a motor vehicle
(an “Auto Loan”), and the automobile dealership thereafter assigned Plaintiffs’ Auto Loan to
COAF;

WHEREAS, on April 16, 2015, COAF repossessed Plaintiffs’ motor vehicle because
Plaintiffs allegedly defaulted on their payment obligations under the Auto Loan;

WHEREAS, on April 17, 2015, COAF mailed to each of Plaintiffs a notice of the
repossession and COAF’s intention to dispose of the repossessed motor vehicle at a private sale;
WHEREAS, on June 29, 2015, COAF sold Plaintiffs’ repossessed motor vehicle;

WHEREAS, on July 3, 2015, COAF mailed to Plaintiff Randy Langer, but not separately
to Plaintiff James Langer, a notice explaining the calculation of the claimed post-sale deficiency
balance for the Auto Loan;

WHEREAS, on October 5, 2016, Plaintiffs filed a Class Action Complaint with the Court

of Common Pleas for the First Judicial District of Pennsylvania, in an action captioned Randy

 

' All capitalized terms herein shall have the meanings ascribed to them in § 2 hereof.
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Langer and James Langer v. Capital One Auto Finance, a division of Capital One, N.A., October
Term, 2016, No. 00560 (the “Action”);

WHEREAS, on November 21, 2016, COAF removed the Action to the United States
District Court for the Eastern District of Pennsylvania (the “Court”), under the caption Randy
Langer and James Langer v. Capital One Auto Finance, a division of Capital One, N_A., No.
2:16-cv-06130-HB;

WHEREAS, Plaintiffs assert certain claims, on their own behalf and on behalf of putative
classes of similarly-situated individuals, against COAF for, inter alia, allegedly violating
Pennsylvania’s Uniform Commercial Code (the “UCC”), on its own and in pari materia with the
Pennsylvania Motor Vehicle Sales Finance Act;

WHEREAS, Plaintiffs, on their own behalf and on behalf of the putative class members,
seek the greater of minimum statutory or actual damages from COAF in connection with their
claims, together with declaratory relief and injunctive relief, inter alia, precluding COAF from
pursuing the collection of any Deficiency Balances on Plaintiffs’ and the putative class
members’ Auto Loans and requiring COAF to return any amounts paid by the putative class
members toward the Deficiency Balances, such Deficiency Balances being disputed by the
Parties in good faith;

WHEREAS, COAF denies that it violated the UCC, denies any liability to Plaintiffs or
any putative class members, and asserts that it is entitled to pursue collection of the disputed
Deficiency Balances on Plaintiffs’ and the putative class members’ Auto Loans and retain any
amounts paid by the putative class members toward the Deficiency Balances;

WHEREAS, Plaintiffs, through Class Counsel, have vigorously pursued their claims

against COAF;
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WHEREAS, COAF, through Defense Counsel, has vigorously defended against
Plaintiffs’ claims;

WHEREAS, during the pendency of this Action, Class Counsel commenced another
putative class action on behalf of several putative class representative plaintiffs, other than
Plaintiffs, against COAF, captioned Dudo, et al, v. Capital One Auto Finance, a division of
Capital One, N.A., No. 2:19-cv-00098-MRH (the “Dudo Action”), asserting, inter alia, claims
not part of this Action and seeking only minimum statutory damages for alleged violations of the
UCC; Plaintiffs and certain Class Members may be putative class members in the Dudo Action;

WHEREAS, COAF is unaware of any lawsuits, other than this Action and the Dudo
Action, by putative class members in this Action against COAF;

WHEREAS, the Parties have negotiated in good faith in an effort to settle Plaintiffs’
claims, including through mediation with private mediator Arthur Stroyd, Esquire, and several
settlement conferences with United States Magistrate Judge Elizabeth T. Hey; and

WHEREAS, the Parties desire to fully settle and resolve the Action on a class basis in
accordance with the Classes defined herein and the terms hereof, without admitting any liability,
and thereby release all Claims arising out of or relating to Plaintiffs’ and the Class Members’
Auto Loans, except as set forth herein;

NOW, THEREFORE, in consideration of the respective covenants, undertakings, mutual
promises, representations, and conditions contained herein, and intending to be legally bound
hereby, the Parties agree as follows, subject to approval by the Court:

2. DEFINITIONS

2.01. The definitions contained herein shall apply only to this Agreement and, as
explicitly incorporated, to other documents necessary to effectuate this Settlement, and shall not

apply to any other agreement, including without limitation any retail installment sales contract.
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Nor shall the definitions contained herein be used as evidence of the meaning of any term, except
as set forth herein with respect to this Agreement and related settlement documents. Each
defined term stated in a singular form shall include the plural form, and each defined term stated
in a plural form shall include the singular form.

2.02. The “Action” means the putative class action captioned Randy Langer and James
Langer v. Capital One Auto Finance, a division of Capital One, N.A., filed by Plaintiffs in the
Court of Common Pleas for the First Judicial District of Pennsylvania, indexed as October Term,
2016, No. 00560, and later removed to the Court and docketed as case number 2:16-cv-06130-
HB.

2.03. This “Agreement” means this Class Action Settlement Agreement and Release,
as fully-executed by the Parties.

2.04. “Auto Loan” means (i) a loan issued by COAF to one or more Borrowers where
the loan is secured by the Borrower’s or Borrowers’ motor vehicle; or (ii) a loan issued by an
automobile dealership to one or more Borrowers, where the loan is secured by the Borrower’s or
Borrowers’ motor vehicle, which thereafter was assigned by the automobile dealership to COAF.

2.05. “Auto Loan Account” means a separate account, identified by a COAF account
number, associated with an Auto Loan.

2.06. “Borrower” means an individual who entered into an Auto Loan, including a co-
borrower or co-obligor.

2.07. “Claims” means any and all rights, remedies, actions, claims, counterclaims,
cross-claims, demands, liabilities, obligations, promises, agreements, controversies, actions,
causes of action, suits, verdicts, judgments, liens, damages, costs, losses, debts, charges, and

expenses (including attorneys’ fees and disbursements of counsel and other professionals), of
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any and every nature whatsoever, whether currently known or unknown, suspected or
unsuspected, foreseen or unforeseen, matured or un-matured, accrued or not accrued, whether in
law or in equity, whether now recognized by law or whether later created or recognized by
statute, regulation, judicial decision, or in any other manner, whether based upon contract, breach
of contract, intentional acts, warranty or covenant, breach of warranty or covenant, tort,
negligence, gross negligence, recklessness, joint and several liability, guarantee, contribution,
reimbursement, subrogation, indemnity, defect, fault, strict liability, bad faith, misrepresentation,
common law fraud, quantum meruit, breach of fiduciary duty, violation of statute, administrative
regulation, or common law, and any other legal, equitable, or other theory or right of action
whatsoever.

2.08. “Class 1” means all Borrowers: (i) who entered into an Auto Loan for personal,
family, or household purposes; (ii) whose motor vehicle was repossessed by COAF; (iii) whose
mailing address at the time of the repossession, according to COAF’s business records, was in
Pennsylvania; and (iv) to whom, during the Class 1 Period, COAF sent a Post-Repossession
Notice, in the same or a substantially similar form to the April 17, 2015 notice COAF mailed to
Plaintiffs, that stated a minimum redemption period of fewer than fifteen (15) days from the date
of the Post-Repossession Notice. Notwithstanding the foregoing, Class 1 excludes Nesmith.
COAF’s business records, as of June 5, 2017, reflect that Class 1 consists of 1,808 members,
associated with 1,329 Auto Loan Accounts.

2.09. “Class 1 Member” means a member of Class 1.

2.10. The “Class 1 Period” means the time period between February 1, 2015 and July

29, 2015, inclusive.
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2.11. “Class 1 Unreleased Claims” means any unreleased Claims, as set forth in §
9.01(c), by a Borrower who is a Class 1 Member but not a Class 2 Member against COAF for
statutory damages under 13 Pa. C.S. 9625(e)(5) arising from or relating to any Post-Sale Notice
allegedly sent by or allegedly required to be sent by COAF to the Class 1 Member, including
without limitation any Claims as a member of the putative “UCC Post-Sale Notice Class” and/or
the “MVSFA Post-Sale Notice Class” in the Dudo Action.

2.12. “Class 2” means all Borrowers: (i) who entered into an Auto Loan for personal,
family, or household purposes; (11) whose motor vehicle was repossessed by COAF; (iii) whose
motor vehicle was sold by COAF during the Class 2 Period; (iv) whose mailing address and/or
whose co-obligor’s mailing address at the time of the sale of the vehicle, according to COAF’s
business records, was/were in Pennsylvania; and (v) to whom COAF did not mail a separately
addressed Post-Sale Notice after the sale of the motor vehicle or to whose co-obligor on the Auto
Loan COAF did not mail a separately addressed Post-Sale Notice after the sale of the motor
vehicle. Notwithstanding the foregoing, Class 2 excludes Nesmith. COAF’s business records,
as of June 8, 2017, reflect that Class 2 consists of 8,766 members, associated with 4,383 Auto
Loan Accounts.

2.13. “Class 2 Member” means a member of Class 2.

2.14. The “Class 2 Period” means the time period between October 5, 2010 and June
9, 2017, inclusive.

2.15. “Class 2 Unreleased Claims” means any unreleased Claims, as set forth in §
9.02(b), by a Borrower who is a Class 2 Member but not a Class 1 Member against COAF for
statutory damages under 13 Pa. C.S. 9625(c)(2) arising from or relating to any Post-Repossession

Notice allegedly sent by or allegedly required to be sent by COAF to the Class 2 Member,
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including without limitation any Claims as a member of the putative “Public Auction Class”
and/or the “Hidden Fees Class” in the Dudo Action.

2.16. “Class Counsel” means Richard Shenkan and Shenkan Injury Lawyers, LLC,
counsel of record for Plaintiffs in the Action.

2.17. “Class Counsel Costs” means the reasonable costs and expenses incurred by
Class Counsel in connection with the investigation, prosecution, and settlement of the Action, as
approved by the Court, which shall be reimbursed to Class Counsel from the Settlement Fund.

2.18. “Class Counsel Fees” means the reasonable attorneys’ fees payable to Class
Counsel, as approved by the Court, which shall be paid from the Settlement Fund.

2.19. The “Class Members” means collectively the Class 1 Members and the Class 2
Members.

2.20. The “Class Notice” means the Notice to Class Members, described in § 5.04
hereof, as approved by the Court.

2.21. The “Class 1 Releasors” means (1) Plaintiffs; (ii) the Class 1 Members, excluding
only those Class 1 Members whose requests for exclusion were approved by the Court in the
Final Approval Order; and (iii) as to each of the foregoing, his or her heirs, executors,
administrators, trustees, personal representatives, beneficiaries, and assigns.

2.22. The “Class 2 Releasors” means (i) Plaintiffs; (ii) the Class 2 Members, excluding
only those Class 2 Members whose requests for exclusion were approved by the Court in the
Final Approval Order; and (iii) as to each of the foregoing, his or her heirs, executors,
administrators, trustees, personal representatives, beneficiaries, and assigns.

2.23. The “Classes” means collectively Class 1 and Class 2.
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2.24. The “Class Releasees” means collectively the Class 1 Releasors and the Class 2
Releasors.

2.25. “COAF” means Capital One Auto Finance, a division of Capital One, N.A.

2.26. The “COAF Releasees” and the “COAF Releasors” means (i) COAF; (ii)
COAF’s respective past, present, and future, direct and indirect, parents, subsidiaries, partners,
joint ventures, and affiliates; (iii) as to each of the foregoing, the past, present, and future
officers, directors, employees, principals, representatives, agents, attorneys, shareholders, and
insurers, each in their capacity as such; and (iv) the predecessors, successors, heirs, executors,
administrators, trustees, personal representatives, beneficiaries, and assigns of any of the
foregoing.

2.27. The “Court” means the United States District Court for the Eastern District of
Pennsylvania.

2.28. The “Credit Reporting Agencies” means Experian, Equifax, and TransUnion.

2.29. The “Cy Pres Recipients” means one or more IRS 501(c)(3) non-profit
organization(s) whose charitable or public service purposes are related to the objectives of this
Action and/or the interests of the Class Members, to be agreed upon by Class Counsel and
Defense Counsel and approved by the Court in the Final Approval Order to receive cy pres
payments of any residual amount in the Settlement Account after distribution of the Net
Settlement Fund to the Class Members, as identified in § 7.15 hereof. COAF has no objection to
designating the following organizations as cy pres recipients: National Association of Consumer
Advocates, National Consumer Law Center, and/or the University of Pittsburgh (for its Law

School Taxpayer Clinic). Class Counsel and Defense Counsel shall reasonably cooperate to
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designate one or more of the foregoing organizations and/or additional appropriate organizations
in connection with moving for the entry of the Final Approval Order.

2.30. “Defense Counsel” means Stradley Ronon Stevens & Young, LLP, counsel of
record for COAF in the Action.

2.31. “Deficiency Balance” means the total outstanding balance on an Auto Loan
Account, inclusive of principal, accrued interest, fees, costs, and other charges permitted under
the terms of the Auto Loan, that COAF claims remains after COAF repossesses and disposes of
the motor vehicle securing the Auto Loan.

2.32. The “Disputed Deficiency Balances” means the Deficiency Balances that COAF
claims with respect to the Class Members’ subject Auto Loans. The Parties acknowledge and
agree that the Disputed Deficiency Balances are disputed liabilities that are being compromised
and extinguished by way of an accord and satisfaction through this Settlement. COAF’s
business records, as of on or about June 8, 2017, reflect that the total amount of the Disputed
Deficiency Balances is $27,416,749.37.

2.33. The “Distribution Date” means the date upon which the Settlement
Administrator shall distribute the Net Settlement Fund and the Post-Stay Return Payments to the
Class Members, not later than sixty (60) days after the Effective Date.

2.34. The “Dudo Action” means the putative class action, captioned Dudo, et al, v.
Capital One Auto Finance, a division of Capital One, N.A., filed by Class Counsel on behalf of
several putative class representative plaintiffs, other than Plaintiffs, against COAF, in the Court
of Common Pleas of Jefferson County Pennsylvania, indexed as Civil Action No. 1236-2018,
and later removed to the United States District Court for the Western District of Pennsylvania

and docketed as case number 2:19-cv-00098-MRH.
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2.35. The “Effective Date” means the date upon which Final Approval occurs.

2.36. “Final Approval” means the entry of the Final Approval Order, the expiration of
the applicable period for filing a notice of appeal from the Final Approval Order, and, if any
appeal is taken from the Final Approval Order, the final affirmance of the Final Approval Order
without any right of further appeal.

2.37. The “Final Approval Hearing” means the hearing to be held by the Court to
determine whether the Settlement shall receive final approval pursuant to Federal Rule of Civil
Procedure 23(e).

2.38. The “Final Approval Order” means an Order of this Court finally approving the
Settlement pursuant to Federal Rule of Civil Procedure 23(e).

2.39. The “Incentive Award” means the sum, not to exceed $15,000.00 each, to be
awarded to each Plaintiff, as approved by the Court, as an award for the Plaintiff's time and
effort in bringing, prosecuting, and settling the Action on behalf of the Class Members, which
shall be paid from the Settlement Fund.

2.40. “IRS” means the Internal Revenue Service.

2.41. “Nesmith” means Timothy Nesmith, the plaintiff in the civil action captioned
Timothy Nesmith v. Capital One Auto Finance, No. 2:15-cv-03793-AB (E.D. Pa.).

2.42. The “Net Settlement Fund” means the Settlement Fund less the Post-Stay
Payment Total, Class Counsel Fees, Class Counsel Costs, Settlement Administration Costs, and
the Incentive Awards.

2.43. The “Parties” refers collectively to Plaintiffs and COAF, and “Party” refers

individually to any of the Parties.

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2.44. “Plaintiffs” means collectively Plaintiffs, Randy Langer and James Langer,
individually and as representatives of the Class Members.

2.45. “Post-Repossession Notice” means a notice COAF sends to a Borrower notifying
the Borrower, inter alia, of the repossession of the Borrower’s motor vehicle and COAF’s
intention to dispose of the Borrower’s repossessed motor vehicle.

2.46. “Post-Sale Notice” means a notice COAF sends to a Borrower explaining, inter
alia, the calculation of the surplus or deficiency balance remaining after the repossession and
sale of the Borrower’s motor vehicle.

2.47, The “Post-Stay Period” means the period between April 24, 2017, the date of the
Parties’ initial mediation session with mediator Arthur Stroyd, Esquire, and the Effective Date.

2.48. “Post-Stay Payment” means any payment made by a Class Member toward any
portion of the Class Member’s Disputed Deficiency Balance during the Post-Stay Period.

2.49. The “Post-Stay Payment Total” means the sum of all the Post-Stay Payments
made by Class Members as of the Effective Date, excluding Post-Stay Payments made by any
Class Members whose requests for exclusion were approved by the Court in the Final Approval
Order.

2.50. “Post-Stay Return Payment” means the payment to be made by the Settlement
Administrator, in accordance with § 7.11 hereof, to each eligible Class Member equal to the total
amount of Post-Stay Payments made by the Class Member.

2.51. The “Preliminary Approval Date” means the date upon which the Court issues
the Preliminary Approval Order.

2.52. The “Preliminary Approval Order” means an Order of this Court preliminarily

approving the Settlement pursuant to Federal Rule of Civil Procedure 23(e).

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2.53. The “Preliminary Settlement Administration Payment” means an initial
payment of $50,000 to the Settlement Administrator for Settlement Administration Costs.

2.54. “Proper Notification and Documentation” means, with respect to a deceased
Class Member and in the discretion of the Settlement Administrator and Class Counsel, a release
and discharge, a death certificate and/or a copy of the official filings appointing an executor,
administrator or other personal representative of the estate or fiduciary of an incompetent, and
sufficient information as to the identity and address of the executor, administrator, personal
representative or fiduciary to enable mailing of a check/wire instructions, or other similar
documentation.

2.55. The “Protective Order” means the Confidentiality Agreement and Stipulated
Protective Order entered by the Court in the Action at ECF No. 10.

2.56. “Qualified Settlement Fund” has the meaning ascribed to it in Treasury
Regulation § 1.468B-1, promulgated under Internal Revenue Code § 468B, as amended.

2.57. The “Reinstatement Sub-Class” means all Class 1 Members: (i) who reinstated
their Auto Loans following the repossession of their motor vehicles by COAF; (ii) whose motor
vehicles were not subsequently repossessed and disposed of by COAF prior to the Effective
Date; (iii) who did not pay off their Auto Loans prior to the Effective Date; and (iv) whose Auto
Loans have remaining outstanding balances as of the Effective Date.

2.58. “Reinstatement Sub-Class Member” means a member of the Reinstatement
Sub-Class.

2.59. The “Released Claims” means the Claims released by the Class 1 Releasors in §
9.01 hereof, the Claims released by the Class 2 Releasors in § 9.02 hereof, and the Claims

released by the COAF Releasors in § 9.03 hereof.

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2.60. The “Settlement” means the settlement between Plaintiffs and COAF as set forth
in this Agreement.

2.61. The “Settlement Account” means collectively one or more Qualified Settlement
Fund bank account(s) at PNC Bank (or another federally-insured financial institution) where the
Settlement Fund will be held on deposit pending distribution as set forth in § 7 hereof.

2.62. The “Settlement Administrator” means BrownGreer PLC or another settlement
administrator agreed to by the Parties and approved by the Court to administer the Settlement
Fund.

2.63. The “Settlement Administration Costs” means the reasonable fees, costs, and
expenses of the Settlement Administrator in connection with administering the Settlement in
accordance with this Agreement.

2.64. The “Settlement Amount” means the sum of $6,500,000.00.

2.65. The “Settlement Fund” means the aggregate of the Settlement Amount and the
Post-Stay Payment Total held on deposit in the Settlement Account, together with any interest
that accrues thereon.

2.66. “Settlement Fund Purposes” means (i) the payment to Class Counsel of Class
Counsel Fees, as approved by the Court; (ii) the reimbursement to Class Counsel of Class
Counsel Costs, as approved by the Court; (iii) the reimbursement to the Settlement Administrator
of Settlement Administration Costs, as approved by the Court; (iv) the payment to Plaintiffs of
the Incentive Awards, as approved by the Court; (v) the distribution to the Class Members of the
Net Settlement Fund; (vi) the distribution of the Post-Stay Payment Total to the eligible Class
Members; and (vii) the payment of any residual portions of the Settlement Fund to the Cy Pres

Recipients, as approved by the Court.

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2.67. The “UCC” refers to Pennsylvania’s Uniform Commercial Code, 13 Pa. C.S. §
9601, et seq.

3. CONDITIONAL NATURE OF THIS AGREEMENT

3.01. This Agreement is made in compromise of disputed claims on a class-wide basis.
This Agreement is intended by the Parties to fully, finally, and forever resolve, discharge and
settle the Released Claims upon and subject to the terms and conditions set forth in this
Agreement, without any admission of liability. The Parties hereby acknowledge and agree that
the Settlement is subject to preliminary and final approval by the Court in accordance with
Federal Rule of Civil Procedure 23(e). Accordingly, the Parties enter into this Agreement on a
conditional basis that is subject to Final Approval and COAF’s right to terminate the Agreement
as set forth in § 11.01 hereof.

3.02. The Parties hereby acknowledge and agree that in the event that the Court does
not enter the Preliminary Approval Order or the Final Approval Order, the Final Approval Order
is vacated as the result of any appeal, preventing the Agreement from becoming final and
effective, or this Agreement is terminated in accordance with § 11.01, then: (i) this Agreement
will be deemed terminated, null and void ab initio, and of no force or effect whatsoever, except
with regard to the return of the unused portion of the Settlement Fund to COAF as applicable;
(ii) the Parties shall not reference or utilize this Agreement, any other documents prepared by the
Parties to effectuate this Settlement, or any other evidence of this Agreement’s terms or the
Parties’ settlement discussions to establish liability, damages, or class certification; and (iii) the

Parties’ settlement discussions shall remain subject to the protections of Federal Rule of

Evidence 408.

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4. CLASS CERTIFICATION FOR SETTLEMENT PURPOSES

4.01. Solely for the purposes of this Agreement and the Settlement, the Parties agree
that Class 1 and Class 2 shall be certified under Federal Rule of Civil Procedure 23(e).

4.02. Solely for the purposes of this Agreement and the Settlement, the Parties agree
that Plaintiffs are members of and shall be appointed as the class representatives for Class | and
Class 2.

4.03. Solely for the purposes of this Agreement and the Settlement, the Parties agree
that Class Counsel shall be appointed as counsel for Class 1 and Class 2.

4.04. Inthe event that the Court does not enter the Preliminary Approval Order or the
Final Approval Order, the Final Approval Order is vacated as the result of any appeal, preventing
the Agreement from becoming final and effective, or this Agreement is terminated in accordance
with § 11.01, then the provisions of this § 4 shall be void and of no force and effect.

5. CLASS SETTLEMENT PROCEDURES

5.01. Motion for Preliminary Approval. Within fourteen (14) days after the Parties’ full
execution of this Agreement, Plaintiffs, through Class Counsel, shall file a Motion for
Preliminary Approval, together with a proposed Preliminary Approval Order in the form
attached hereto as Exhibit A. The proposed Preliminary Approval Order shall provide, among
other things:

(a) That this Agreement and the Settlement set forth herein are deemed by the
Court to be within the range of reasonableness such that preliminary approval of the Settlement
is warranted and the Class Notice should be disseminated to the Class Members;

(b) That, solely for the purposes of this Agreement and the Settlement set
forth herein, the requirements for preliminary certification of Class 1 and Class 2 pursuant to

Federal Rule of Civil Procedure 23 have been satisfied;

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(c) That, solely for the purposes of this Agreement and the Settlement set
forth herein, Class 1 and Class 2 are preliminarily certified;

(d) That, solely for the purposes of this Agreement and the Settlement set
forth herein, Plaintiffs are preliminarily appointed as the class representatives for Class 1 and
Class 2;

(e) That, solely for the purposes of this Agreement and the Settlement set
forth herein, Class Counsel is preliminarily appointed as counsel for Class | and Class 2;

(f) That the Class Notice, in the form attached hereto as Exhibit B, meets all
applicable legal requirements and is approved by the Court;

(g) | That the mailing of the Class Notice to the Class Members in the manner
set forth in the Prelimimary Approval Order meets all applicable legal requirements and is
approved by the Court;

(h) That the Settlement Administrator is appointed to administer the mailing
of the Class Notice, is bound by the terms of the Protective Order, and is subject to the
jurisdiction of the Court for the purposes of this Action and the Settlement;

(i) Deadlines consistent with this Agreement and the Class Notice for (i) the
mailing of the Class Notice to the Class Members, (ii) the filing of objections to the Settlement,
(ii) the filing of requests by Class 1 Members for exclusion from Class 1, and (iv) the filing of
requests by Class 2 Members for exclusion from Class 2;

() That a written request for exclusion from the Classes, as set forth in the
Class Notice, must: (i) set forth the Class Member’s full name, current address, telephone

number and email address, if available, (ii) contain the signatures of any Class Member (or his or

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her guardian, administrator, or executor) obligated on the Class Member’s Auto Loan, and (iti)
state the intent of all signatory(ies) not to participate in the Settlement;

(k) That the Class Members who do not timely exclude themselves from the
Classes in accordance with the Class Notice shall be bound by the Final Approval Order;

(1) The date for the Final Approval Hearing and deadlines for the filing of
motion papers in connection with seeking a Final Approval Order; and

(m) That at the Final Approval Hearing the Court will consider, inter alia: (i)
whether the Settlement is fair and reasonable; (ii) whether the Class Counsel Fees are fair and
reasonable; (iii) whether the Class Counsel Costs are fair and reasonable; (iv) whether the
Settlement Administration Costs are fair and reasonabie; (v) whether the Incentive Awards are
fair and reasonable; and (vi) whether the Final Approval Order, dismissing the Action on the
merits and with prejudice as to the Class Members who did not timely exclude themselves from
the Classes, should be entered.

5.02. COAF’S Non-Opposition to Motion for Preliminary Approval. Provided that
Plaintiffs’ Motion for Preliminary Approval and proposed Preliminary Approval Order comply
with the terms of this Agreement, COAF shall timely file with the Court a response stating that
COAF does not oppose the Motion for Preliminary Approval.

5.03. Identification of Class Members.

(a) Within thirty (30) days after the Court enters the Preliminary Approval
Order, COAF shall provide to Class Counsel and the Settlement Administrator a separate
spreadsheet in Excel format for Class 1 and Class 2 containing the following information: (i) the
name of each Class Member; (ii) the name of any co-obligor on each Class Member’s Auto

Loan; (iii) the last known mailing address for each Class Member; (iv) the last known telephone

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number(s) for each Class Member; (v) the last known email address for each Class Member; (vi)
the Social Security Number for each Class Member; (vii) the Disputed Deficiency Balance for
each Class Member (as of the Preliminary Approval Date); (viii) the total amount of Post-Stay
Payments made by each Class Member (as of the Preliminary Approval Date); (ix) whether the
Class Member had filed for bankruptcy as of the Preliminary Approval Date (to the extent
known); and (x) whether the Class Member is within the Reinstatement Sub-Class (as of the
Preliminary Approval Date), together with a Declaration under penalty of perjury as to the
manner in which the information was collected and its accuracy. COAF agrees to make a
reasonable and good faith effort to provide the foregoing information to Class Counsel and the
Settlement Administrator.

(b) | COAF is providing the information set forth in this § 5.03, including the
Class Members’ Social Security Numbers, to Class Counsel and the Settlement Administrator for
legitimate business purposes, namely to: (i) assist the Settlement Administrator in locating and/or
verifying mailing addresses for the Class Members; and (ii) to assist Class Counsel in verifying
that the Class Members receive the settlement consideration set forth in this Agreement.

(c) The Parties acknowledge and agree that the information provided by
COAF in accordance with this § 5.03 is “Confidential Information” as defined in the Protective
Order and subject to the protections of the Protective Order.

(d) | COAF agrees to promptly respond to reasonable inquiries from the
Settlement Administrator and Class Counsel regarding the Class Member information set forth in
this § 5.03.

(e) The Settlement Administrator shall review, verify, and, if applicable,

update the Class Member mailing addresses in the spreadsheets provided by COAF pursuant to

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this § 5.03 through the United States Postal Service National Change of Address database and
through the Accurint or Westlaw database or another equivalent database and provide updated
spreadsheets to Class Counsel and Defense Counsel prior to the sending of the Class Notice.

5.04. The Class Notice. Subject to the Court’s approval, the Parties agree that notice of
the Settlement shall be given to the Class Members through a class notice in the form attached as
Exhibit B.

(a) Within the timeframe set forth in the Preliminary Approval Order, the
Settlement Administrator shall mail the Class Notice, in the form approved by the Court, by First
Class United States Mail to the Class Members at their last known mailing addresses as updated
and verified in accordance with § 5.03(e) hereof.

(b) Ifa mailed Class Notice is returned with a forwarding address provided by
the United States Postal Service or if Class Counsel or the Settlement Administrator becomes
aware of another more suitable address, the Settlement Administrator will re-mail the Class
Notice to such address or addresses.

(c) Ifa mailed Class Notice is returned without a forwarding address provided
by the United States Postal Service or is otherwise designated by the United States Postal Service
as bearing an invalid address, the Settlement Administrator will use the Accurint or Westlaw
database or another equivalent database and use skip-tracing, as applicable, to attempt to locate
an updated address for the particular Class Member, and will re-mail the Class Notice to the
Class Member at the most recent, updated address located if different from an address that was

previously returned by the United States Postal Service.

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5.05. Objections to the Settlement.

(a) The Class Notice, as approved by the Court, shall permit any Class
Member to object to the Settlement, provided that the Class Member submits a written objection
to the Settlement Administrator in the manner set forth in the Class Notice on or before the
deadline for objections set forth in the Class Notice.

(b) Any Class Member can withdraw his or her objection to the Settlement,
provided that the Class Member submits a written withdrawal of the objection to the Settlement
Administrator at or before the Final Approval Hearing.

(c) Within three (3) business days of receipt of any objection, the Settlement
Administrator shall provide to Class Counsel and Defense Counsel: (i) the name, address,
telephone number, and email address of the objecting Class Member; (ii) if applicable, the name,
address, telephone number, and email address of the objecting Class Member’s counsel; and (iii)
a copy of the objecting Class Member’s written objection.

(d) Within fourteen (14) days after the deadline for objections set forth in the
Class Notice, the Settlement Administrator shall provide to Class Counsel and Defense Counsel
a list of the Class Members (by name and Auto Loan Account number) who submitted
objections.

(e) At least twenty-one (21) days before the Final Approval Hearing, the
Settlement Administrator shall prepare a list of the Class Members (by last four digits of Auto
Loan Account number and city only, for confidentiality purposes) who submitted objections to
the Settlement, in a form suitable for submission to the Court with Plaintiffs’ Motion for Final

Approval.

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5.06. Requests for Exclusion from the Classes.

(a) The Class Notice, as approved by the Court, shall permit any Class 1
Member to request exclusion from Class ] and any Class 2 Member to request exclusion from
Class 2, provided that the Class Member submits a written request for exclusion in the manner
set forth in the Class Notice on or before the deadline for requests for exclusion set forth in the
Class Notice.

(b) Any Class Member can withdraw his or her request for exchision from
Class 1 or Class 2, provided that the Class Member submits a written withdrawal of the request
for exclusion to the Settlement Administrator on or before the deadline for requests for exclusion
set forth in the Class Notice.

(c) Within three (3) business days of receipt of any request for exclusion, the
Settlement Administrator shall provide to Class Counsel and Defense Counsel: (i) the name,
address, telephone number, and email address of the Class Member requesting exclusion; (ii) if
applicable, the name, address, telephone number, and email address of counsel for the Class
Member requesting exclusion; and (ili) a copy of the Class Member’s written request for
exclusion.

(d) Within fourteen (14) days after the deadline for requests for exclusion set
forth in the Class Notice, the Settlement Administrator shall provide to Class Counsel and
Defense Counsel a list of the Class 1 Members (by name and Auto Loan Account number) who
submitted requests for exclusion from Class 1, together with copies of the Class 1 Members’
written requests for exclusion.

(e) Within fourteen (14) days after the deadline for requests for exclusion set

forth in the Class Notice, the Settlement Administrator shall provide to Class Counsel and

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Defense Counsel a list of the Class 2 Members (by name and Auto Loan Account number) who
submitted requests for exclusion from Class 2, together with copies of the Class 2 Members’
written requests for exclusion.

(f) At least twenty-one (21) days before the Final Approval Hearing, the
Settlement Administrator shall prepare a list of the Class 1 Members (by last four digits of Auto
Loan Account number and city only, for confidentiality purposes) who submitted requests for
exclusion from Class 1, in a form suitable for submission to the Court with Plaintiffs’ Motion for
Final Approval.

(g) At least twenty-one (21) days before the Final Approval Hearing, the
Settlement Administrator shall prepare a list of the Class 2 Members (by last four digits of Auto
Loan Account number and city only, for confidentiality purposes) who submitted requests for
exclusion from Class 2, in a form suitable for submission to the Court with Plaintiffs’ Motion for
Final Approval.

5.07. Motion for Final Approval. In accordance with the Preliminary Approval Order,
after the Class Notice has been mailed to the Class Members and before the Final Approval
Hearing, Plaintiffs shall file a Motion for Final Approval seeking a Final Approval Order in
accordance with this Agreement, and including any modifications made by the Court, approving
this Agreement as final, fair, reasonable, adequate, and binding on all Class Members who have
not excluded themselves from the Classes and ordering that the Settlement Fund be distributed in
accordance with § 7 hereof and that the additional class relief be conferred to the eligible Class

Members in accordance with § 8 hereof.

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5.08. Class Counsel Fees and Class Counsel Costs.

(a) The Parties understand that in connection with seeking Final Approval,
Class Counsel intends to apply for an award of Class Counsel Fees and an allowance for the
reimbursement of Class Counsel Costs, both of which shall be paid from the Settlement Fund on
a common basis without affecting COAF’s payment obligations hereunder.

(b) COAF takes no position with respect to the Class Counsel Fees sought by
Class Counsel and shall not object to Class Counsel’s request for Class Counsel Fees, provided
that the Class Counsel Fees sought by Class Counsel do not exceed $2,600,000.00, taking into
consideration the settlement consideration to the Class Members in addition to the $6,500,000.00
Settlement Amount, including COAF’s agreement to: (i) compromise and extinguish the
Disputed Deficiency Balances by way of an accord and satisfaction; (ii) vacate or mark satisfied
any unsatisfied deficiency judgments against the Class Members; (iti) request that the Credit
Reporting Agencies delete the trade lines relating to the Class Members’ subject Auto Loan
Accounts; and (iv) return the Post-Stay Payments. COAF does not object to the payment of the
Class Counsel Fees, in whole or in part, into an annuity or deferred compensation vehicle for the
benefit of Class Counsel, subject to approval by the Court.

(c) COAF takes no position with respect to the Class Counsel Costs sought by
Class Counsel and shall not object to Class Counsel’s request for Class Counsel Costs provided
that the Class Counsel Costs sought by Class Counsel do not exceed $50,000.

(d) | The Class Counsel Fees awarded by the Court shall include compensation
to Class Counsel for addressing, in futuro, ongoing Class Member inquiries concerning the
Settlement and the relief provided thereunder, including the compromise and extinguishment of

the Disputed Deficiency Balances by way of an accord and satisfaction, requests for deletion of

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trade lines, and return of Post-Stay Payments. Class Counsel represents that it will also provide
or otherwise make available to Class Members resources and tax-related information Class
Members may use or find helpful relating to this Settlement.

6. SETTLEMENT ADMINISTRATION

6.01. The Settlement Administrator.

(a) COAF recommends BrownGreer PLC of Richmond, Virginia to be
appointed by the Court to serve as the Settlement Administrator, and Plaintiffs do not object to
that recommendation.

(b) Ifthe Court does not appoint BrownGreer PLC as the Settlement
Administrator or if BrownGreer PLC is unable or unwilling to serve as the Settlement
Administrator, then the Parties agree to cooperate in good faith to select a mutually-agreeable
firm to serve as the Settlement Administrator and to seek the Court’s approval of the
appointment of such firm as the Settlement Administrator.

(c) The Parties shall use their best efforts to require the Settlement
Administrator to acknowledge and agree that the Settlement Administrator shall be subject to the
jurisdiction of the Court for the purposes of this Action and the Settlement and shall be bound by
the Protective Order.

(d) The Parties shall use their best efforts to require the Settlement
Administrator to acknowledge and agree that the Settlement Administrator shall promptly
respond to inquiries from COAF, Defense Counsel, and/or Class Counsel regarding the
administration of the Settlement Fund, the status of payments and distributions therefrom,
communications with Class Members, and any other matter falling within the scope of the

Settlement Administrator’s services.

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6.02. Settlement Administration Costs. The Settlement Administration Costs shall be
paid from the Settlement Fund, provided that the Settlement Administration Costs do not exceed
$100,000.

(a) Upon or after COAF’s payment of the Settlement Amount to the
Settlement Account, and with Class Counsel’s approval, the Settlement Administrator may
withdraw the Preliminary Settlement Administration Payment from the Settlement Account.

(b) Upon or after Final Approval, and with Class Counsel’s approval, the
Settlement Administrator may withdraw up to $50,000 for the remainder of the Settlement
Administration Costs.

(c) In the event that due to unforeseen circumstances, the Settlement
Administration Costs reasonably necessary to administer the Settlement exceed $100,000, the
Settlement Administrator shall bill COAF directly for, and COAF shall pay, such reasonable and
necessary excess Settlement Administration Costs.

7. THE SETTLEMENT FUND
7.01. Qualified Settlement Fund. The Settlement Fund shall constitute a Qualified

Settlement Fund, with the Settlement Administrator serving as the “Administrator” of the
Settlement Fund within the meaning of Treasury Regulation § 1.468B-2(k)(3).

(a) Upon or before the establishment of the Settlement Fund, the Settlement
Administrator shall apply for an employer identification number for the Settlement Fund in
accordance with Treasury Regulation §1.468B-2(k)(4).

(b) Ifrequested by COAF, as transferor of the Settlement Fund, or by the
Settlement Administrator, as Administrator of the Settlement Fund, COAF and the Settlement

Administrator shall fully cooperate in jointly filing a relation-back election under Treasury

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Regulation §1.468B-1(j)(2) to treat the Settlement Fund as coming into existence as a Qualified
Settlement Fund as of the earliest possible date.

(c) The Settlement Administrator shall file or cause to be filed, on behalf of
the Settlement Fund, all required federal, state, and local tax returns, information returns
(including any IRS Form 1099-MISC returns), and tax withholdings statements, in accordance
with the provisions of Treasury Regulation §1.468B-2(k)(1) and Treasury Regulation §1.468B-
2(1)(2)(ii).. Any contract, agreement or understanding entered into with the Settlement
Administrator relating to the Settlement Fund must require the Settlement Administrator or its
agent to file or cause to be filed, on behalf of the Settlement Fund, all such required returns and
statements. Nothing in this § 7.01(c) is intended to, or shall be construed to, require the
Settlement Administrator to file IRS Form 1099-C informational returns with respect to the
compromise and extinguishment of the Class Members’ Disputed Deficiency Balances by way of
an accord and satisfaction through this Settlement.

7.02. Payment of the Settlement Amount by COAF. Within fourteen (14) days after the
later of (i) the Court’s issuance of the Preliminary Approval Order; (ii) COAF’s receipt of a
completed and signed IRS Form W-9 with the taxpayer identification number associated with the
Settlement Account; and (iii) COAF’s receipt of wire transfer instructions for payment to the
Settlement Account, COAF shall cause the Settlement Amount to be paid by wire transfer of
immediately available funds to the Settlement Account.
7.03. Management of the Settlement Fund.
(a) The Settlement Fund shall be used solely for Settlement Fund Purposes.
(b) The Settlement Fund shall not be commingled with any other funds and

shall be held in cash, cash equivalents, certificates of deposit or instruments insured by the

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United States Government, or corporate bonds that are rated AAA by Standard and Poor’s or
Moody’s Investors Service.

(c) The Settlement Fund may but need not bear interest, at the sole discretion
of Class Counsel. In the event that the Court does not issue the Final Approval Order, the Final
Approval Order is vacated as the result of any appeal, preventing the Agreement from becoming
final and effective, or this Agreement is otherwise terminated in accordance with § 11.01, the
Settlement Fund, including any accrued interest, shall be returned to COAF in accordance with §
11.02.

(d) The Settlement Administrator shall be authorized to immediately
withdraw the Preliminary Settlement Administration Payment as set forth in § 6.02(a) hereof.
Other than the Preliminary Settlement Administration Payment, no portion of the Settlement
Fund shail be released from or paid out of the Settlement Account prior to the Effective Date.

(e) After the Effective Date, no portion of the Settlement Fund shall revert to
or otherwise be returned to COAF, except in connection with credits to the Auto Loan Accounts
of Reinstatement Sub-Class Members in accordance with § 7.09(f) hereof.

7.04. Payments to Class Counsel. Subject to Final Approval, no later than fourteen (14)
days after the Effective Date unless otherwise instructed by Class Counsel, the Settlement
Administrator shall pay to Class Counsel and/or Class Counsel’s designee(s):

(a) Class Counsel Fees in the amount approved by the Court in the Final
Approval Order; and

(b) The amount approved by the Court in the Final Approval Order for

reimbursement of Class Counsel Costs.

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7.05. Payment of the Incentive Awards. Subject to Final Approval, no later than
fourteen (14) days after the Effective Date, the Settlement Administrator shall issue and mail
checks payable to each Plaintiff, at addresses to be provided by Class Counsel, in the amounts
approved by the Court for the Incentive Awards. Plaintiffs and Class Counsel represent and
warrant that Plaintiffs shall receive no benefit from this Settlement except: (i) the settlement
consideration afforded to them under this Settlement as Class Members; and (11) the Incentive
Awards.

7.06. Payment of Settlement Administration Costs. Subject to Final Approval and
Class Counsel’s approval, on or after the Effective Date, the Settlement Administrator may
withdraw up to $50,000 from the Settlement Fund (in addition to the Preliminary Settlement
Administration Payment) for Settlement Administration Costs.

7.07. Updating Class Member Data.

(a) Within fourteen (14) days after the Effective Date, COAF shall provide to
Class Counsel and the Settlement Administrator a separate updated spreadsheet in Excel format
for Class 1 and Class 2 containing following information: (i) the name of each Class Member,
excluding any Class Members whose requests for exclusion were approved by the Court in the
Final Approval Order; (ii) the name of any co-obligor on each Class Member’s Auto Loan; (iii)
the last known mailing address for each Class Member; (iv) the last known telephone number(s)
for each Class Member; (v) the last known email address for each Class Member; (vi) the Social
Security Number for each Class Member; (vii) the Disputed Deficiency Balance for each Class
Member (as of the Effective Date); (viii) the total amount of Post-Stay Payments made by each
Class Member (as of the Effective Date); (ix) whether the Class Member had filed for

bankruptcy as of the Effective Date (to the extent known); and (x) whether the Class Member is

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within the Reinstatement Sub-Class (as of the Effective Date). COAF agrees to make a
reasonable and good faith effort to provide the foregoing information to Class Counsel and the
Settlement Administrator.

(b) COAF is providing the information set forth in this § 7.07, including the
Class Members’ Social Security Numbers, to Class Counsel and the Settlement Administrator for
legitimate business purposes, namely to: (i) assist the Settlement Administrator in locating and/or
verifying mailing addresses for the Class Members; and (ii) to assist Class Counsel in verifying
that the Class Members receive the settlement consideration set forth in this Agreement.

(c) The Parties acknowledge and agree that the information provided by
COAF in accordance with this § 7.07 is “Confidential Information” as defined in the Protective
Order and subject to the protections of the Protective Order.

(d) | COAF agrees to promptly respond to reasonable inquiries from the
Settlement Administrator and/or Class Counsel regarding the Class Member information set
forth in this § 7.07.

(e) The Settlement Administrator shall review, verify, and, if applicable,
update the Class Member mailing addresses in the spreadsheets provided by COAF pursuant to
this § 7.07 through the United States Postal Service National Change of Address database and
through the Accurint or Westlaw database or another equivalent database and provide updated
spreadsheets to Class Counsel and Defense Counsel prior to commencing distributions of the Net
Settlement Fund.

7.08. Allocation of the Net Settlement Fund.
(a) Subject to Final Approval, no later than sixty (60) days after the Effective

Date, the Settlement Administrator shall commence distributions of the Net Settlement Fund to

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the Class Members, excluding only those Class Members whose requests for exclusion were
approved by the Court in the Final Approval Order.

(b) 66.7% of the Net Settlement Fund shall be allocated to Class 1, and 33.3%
of the Net Settlement Fund shall be allocated to Class 2.

(c) By way of illustration, if the Court approves Class Counsel Fees of
$2,600,000.00, Class Counsel Costs of $50,000.00, Settlement Administration Costs of
$100,000.00, and aggregate Incentive Awards of $30,000.00, then (excluding any portion of the
Settlement Fund that is comprised of accrued interest) $2,480,000.00 of the Net Settlement Fund
is allocated to Class 1, and $1,240,000.00 of the Net Settlement Fund is allocated to Class 2.

7.09. Distributions to Class 1 Members.

(a) The portion of the Net Settlement Fund allocated to Class 1 shall be
distributed in equal settlement payments for each Auto Loan Account associated with one or
more Class 1 Member(s), excluding any Class 1 Members whose requests for exclusion were
approved by the Court in the Final Approval Order. The settlement payment for an Auto Loan
Account with more than one Borrower shall be split evenly among the Co-Borrowers for that
Auto Loan Account, with separate checks made payable to each Co-Borrower. However, the
Co-Borrowers on a given Auto Loan Account may request that their settlement payments be
divided in some other fashion among the Co-Borrowers. In the event of a dispute between the
Co-Borrowers regarding the allocation of their settlement payments, the Settlement
Administrator shall hold the payments for both Co-Borrowers in escrow pending resolution of
the dispute, and Class Counsel will use reasonable efforts to resolve the dispute. In the event
that the dispute cannot be resolved, then Class Counsel will petition the Court to adjudicate the

dispute.

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(b) To the extent that a Class | Member is a Borrower with respect to more
than one Auto Loan Account that would qualify the Borrower for inclusion in Class 1, the Class
1 member shall be entitled to a separate settlement payment for each such Auto Loan Account.

(c) To the extent that the vehicle associated with a Class 1 Member’s Auto
Loan Account was repossessed more than once, only one payment shall be made for such Auto
Loan Account, regardless of the number of repossessions.

(d) The settlement payments to Class 1 Members are non-assignable except
with approval of the Court or in connection with a Class 1 Member’s death or incapacity, as set
forth in § 7.12(b) hereof.

(ec) Excluding the Reinstatement Sub-Class Members, the settlement
payments to Class 1 Members in accordance with § 7.08(a) hereof shall be made by way of
checks mailed to the Class 1 Members at their last known mailing addresses as updated and
verified in accordance with § 7.07(e) hereof, together with an explanatory letter in the form
attached hereto as Exhibit C, unless Class Counsel directs otherwise.

(f) The Class 1 settlement payments to Reinstatement Sub-Class Members
shall be made from the Settlement Administrator directly to COAF. Upon making such payment
to COAF, the Settlement Administrator shall mail an explanatory letter in the form attached
hereto as Exhibit D to each Reinstatement Sub-Class Member, with a copy to Class Counsel and
Defense Counsel. COAF shall apply the amount of the payment otherwise due and owing to
each Reinstatement Sub-Class Member as a credit to each Reinstatement Sub-Class Member’s
respective Auto Loan Account. Ifthe settlement payment to a Reinstatement Sub-Class Member
exceeds the total outstanding balance of the Reinstatement Sub-Class Member’s Auto Loan

Account, then the excess amount shall be returned to the Settlement Administrator to be paid to

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the Reinstatement Sub-Class Member by way of a check mailed to the Reinstatement Sub-Class

Member’s last known mailing address as updated and verified in accordance with § 7.07(e)

hereof, with separate checks issued to Co-Borrowers on a given Auto Loan Account, as set forth

in § 7.09(a) hereof. COAF agrees to reasonably cooperate with the Settlement Administrator

with respect to effectuating the settlement payments to the Reinstatement Sub-Class Members.
7.10. Distributions to Class 2 Members.

(a) The portion of the Net Settlement Fund allocated to Class 2 shall be
distributed in equal payments to each Class 2 Member, excluding any Class 2 Members whose
requests for exclusion were approved by the Court in the Final Approval Order.

(b) To the extent that a Class 2 Member is a Borrower with respect to more
than one Auto Loan Account that would qualify the Borrower for inclusion in Class 2, the Class
2 member shall be entitled to a separate settlement payment for each such Auto Loan Account.

(c) To the extent that the vehicle associated with a Class 2 Member’s Auto
Loan Account was repossessed more than once, only one payment shall be made for such Auto
Loan Account, regardless of the number of repossessions.

(d) The settlement payments to Class 2 Members are non-assignable except
with approval of the Court or in connection with a Class 2 Member’s death or incapacity, as set
forth in § 7.12(b) hereof.

(e) The settlement payments to Class 2 Members shal! be made by way of
checks mailed to the Class 2 Members at their last known mailing addresses as updated and
verified in accordance with § 7.07(e) hereof, together with an explanatory letter in the form

attached hereto as Exhibit C, unless Class Counsel directs otherwise.

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7.11. Post-Stay Return Payments.

(a) | COAF represents that it has not actively pursued collection of the
Disputed Deficiency Balances during the Post-Stay Period and covenants that it will not actively
pursue collection of the Disputed Deficiency Balances during the remaining Post-Stay Period.
Certain Class Members, nonetheless, have made Post-Stay Payments, and Class Members may
make additional Post-Stay Payments during the remaining Post-Stay Period.

(b) Subject to Final Approval, within thirty (30) days after the Effective Date,
COAF shall cause the Post-Stay Payment Total to be paid by wire transfer of immediately
available funds to the Settlement Account.

(c) In the event that a Class Member makes a payment toward any portion of
the Class Member’s Disputed Deficiency Balance after the Effective Date, COAF shall return
such payment directly to the Class Member within sixty (60) days of receipt of such payment.

(d) _—_—No later than thirty (30) days after the Post-Stay Payment Total is
deposited into the Settlement Account, the Settlement Administrator shall make Post-Stay Return
Payments to each Class Member who made Post-Stay Payments, excluding any Class Members
whose requests for exclusion were approved by the Court in the Final Approval Order, in the
amounts provided by COAF in accordance with § 7.07(a)(viii). The Post-Stay Return Payments
shall be made by way checks mailed to the eligible Class Members at their last known mailing
addresses as updated and verified in accordance with § 7.07(e) hereof, unless Class Counsel
directs otherwise. The Post-Stay Return Payments shall be mailed with an explanatory letter in
the form attached hereto as Exhibit E, with a copy to Class Counsel and Defense Counsel.

(e) The Post-Stay Return Payment for an Auto Loan Account with more than

one Borrower shall be split evenly among the Co-Borrowers for that Auto Loan Account, with

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separate checks made payable to each Co-Borrower. However, the Co-Borrowers on a given
Auto Loan Account may request that their Post-Stay Return Payments be divided in some other
fashion among the Co-Borrowers. In the event of a dispute between the Co-Borrowers regarding
the allocation of their Post-Stay Return Payments, the Settlement Administrator shall hold the
payments for both Co-Borrowers in escrow pending resolution of the dispute, and Class Counsel
will use reasonable efforts to resolve the dispute. In the event that the dispute cannot be
resolved, then Class Counsel will petition the Court to adjudicate the dispute.

(f) Post-Stay Return Payments to Class Members are non-assignable except
with approval of the Court or in connection with a Class Member’s death or incapacity, as set
forth in § 7.12(b) hereof.

7.12. Treatment of Class Members Who Have Moved or Died.

(a) For each Class Member whose mailed check(s) (for settlement payments
and/or Post-Stay Return Payments) is/are returned without a forwarding address provided by the
United States Postal Service or is otherwise designated by the United States Postal Service as
bearing an invalid address, the Settlement Administrator will use the Accurint or Westlaw
database or another equivalent database and use skip-tracing, as applicable, to attempt to locate
an updated address for the particular Class Member, and will re-mail the check(s) to the Class
Member at the most recent, updated address located if different from an address that was
previously returned by the United States Postal Service unless otherwise instructed by Class
Counsel or the Class Member.

(b) If the Settlement Administrator receives notice that a Class Member is
deceased or incompetent, the Settlement Administrator will, upon receipt of Proper Notification

and Documentation, make the Class Member’s settlement payment and/or Post-Stay Return

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Payment to the Class Member’s estate or next of kin if deceased, or trust or guardian if
incompetent. Any payments to or on behalf of an estate, next of kin, or guardian of an
incompetent must be made within one hundred fifty (150) days after the Distribution Date.

7.13. Treatment of Uncashed or Unclaimed Settlement Checks. Except as otherwise
ordered by the Court, those Class Members who are not located within one hundred eighty (180)
days after the Distribution Date will be ineligible to share in the Settlement Fund, but will
otherwise receive the non-cash benefits of this Settlement, as applicable. For those Class
Members whose checks are not cashed or claimed within seventy-five (75) days after the
Distribution Date, the Settlement Administrator will issue and mail replacement checks for the
settlement payments to those Class Members, together with an explanatory letter in the form
attached hereto as Exhibit F. The Settlement Administrator, in its discretion or the discretion of
Class Counsel, shall replace any lost or non-cashed check upon proper request from a Class
Member within one hundred twenty (120) days of the Distribution Date so long as the Settlement
Fund has not been fully distributed. COAF does not object to further reasonable efforts by Class
Counsel to ensure distribution to Class Members of settlement payments in accordance with this
Agreement, including without limitation mailing one or more follow-up letter(s), which may
include replacements check(s), to those Class Members who have been sent — but have not
negotiated — their checks for distribution to remind the Class Member that a check was
previously mailed, has not been negotiated, and will expire if not deposited or cashed in a timely
manner. Except as otherwise ordered by the Court, those Class Members whose checks are not
cashed or claimed within one hundred eighty (180) days after the Distribution Date will be
ineligible to share in the Settlement Fund, but will otherwise receive the non-cash benefits of this

Settlement, as applicable.

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7.14. Settlement Administrator’s Notification to Class Counsel and Defense Counsel.
Within one hundred fifty (150) days after the Distribution Date, the Settlement Administrator
must notify Class Counsel and Defense Counsel in writing of: (i) the number of Class Members
to whom settlement checks were mailed; (ii) the number of Class Members who cashed their
settlement checks; (iii) the number of Class Members who did not cash their settlement checks;
(iv) the number of Class Members to whom Post-Stay Return Payment checks were mailed; (v)
the number of Class Members who cashed their Post-Stay Return Payment checks; (vi) the
number of Class Members who did not cash their Post-Stay Return Payment checks; (vii) the
number of Reinstatement Sub-Class Members to whose Auto Loan Accounts settlement
payments were credited and the total amount of such credits, listing the total amount of the
checks issued and/or wire transfers made to COAF for the settlement payments to the
Reinstatement Sub-Class Members; (viii) the total dollar amount of the Settlement Fund
distributed; and (ix) and the remaining balance of the Settlement Fund, accounting for interest (if
any), bank fees and similar direct expenses of the administration.

7.15. Cy Pres. This Settlement does not entail a reverter. Except as otherwise ordered
by the Court, within one hundred eighty (180) days after the Distribution Date, the remaining
balance of the Settlement Fund, comprised of the principal of any uncashed or returned checks
together with accrued interest, if any, shall be distributed by the Settlement Administrator to the
Cy Pres Recipients approved by the Court in the Final Approval Order, made by way of checks
mailed to the Cy Pres Recipients at addresses to be provided to the Settlement Administrator by
Class Counsel. Upon distribution of the balance of the Settlement Fund to the Cy Pres

Recipients, the Settlement Administrator shall close the Settlement Account.

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7.16. Certification of Distribution. Within fourteen (14) days after the final distribution
of all portions of the Settlement Fund, the Settlement Administrator will provide to Class
Counsel an affidavit attesting to the Court that the distributions provided for by this Agreement
have all been timely made and will serve a copy thereof on Defense Counsel.

7.17. No Liability to COAF or Defense Counsel. The Parties acknowledge and agree
that following COAF’s payment of the Settlement Amount in accordance with § 7.02 hereof and
COAF’s payment of the Post-Stay Payment Total in accordance with § 7.11 hereof, COAF and
Defense Counsel have no responsibility for, interest in, control over, or liability whatsoever with
respect to: (i) the management, investment, allocation, or distribution of the Settlement Fund;
(ii) the administration of the Settlement, the calculation or payment of Counsel Costs, Counsel
Fees, Settlement Administration Costs, Incentive Awards, settlement payments to Class
Members, or payments to the Cy Pres Recipients; (iii) the calculation, withholding, or payment
of any taxes, penalties, interest, charges, or fees related to the Settlement Fund; or (iv) any
Claims by Plaintiffs, the Class Members, Class Counsel, the Settlement Administrator, or anyone
else with respect to the foregoing.

8. ADDITIONAL CLASS RELIEF

8.01. Accord and Satisfaction of Disputed Deficiency Balances.

(a) Subject to and upon Final Approval, as of the Effective Date, COAF shall
permanently extinguish all of the Disputed Deficiency Balances of the Class Members,
excluding those Class Members whose requests for exclusion were approved by the Court in the
Final Approval Order, with such Disputed Deficiency Balances being compromised through an
accord and satisfaction by virtue of the mutual consideration set forth herein. Nothing herein is

intended to, or shall be construed to, prevent COAF from taking steps to effectuate the

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extinguishment of the Class Members’ Disputed Deficiency Balances between the date of the
Court’s entry of the Final Approval Order and the Effective Date.

(b) | COAF agrees to take reasonable steps to vacate or mark satisfied any
unsatisfied deficiency judgments against any Class Members, excluding any Class Members
whose requests for exclusion were approved by the Court in the Final Approval Order, within
thirty (30) days after the Effective Date and to provide a copy of any such Court filings to Class
Counsel.

(c) COAF does not waive the outstanding balances on the Reinstatement Sub-
Class Members’ Auto Loan Accounts; nor does COAF waive any Deficiency Balances that may
result from the repossession and disposition of any Reinstatement Sub-Class Member’s motor
vehicle after the Effective Date.

8.02. IRS Form 1099-C Reporting.

(a) The Parties acknowledge that COAF may have certain obligations under
the Internal Revenue Code and related regulations to file IRS Form 1099-C informational returns
with the IRS and to furnish copies of the IRS Forms 1099-C to the relevant Borrowers.

(b) The Parties acknowledge and agree that the Class Members’ Disputed
Deficiency Balances are disputed liabilities that are being compromised and extinguished by way
of an accord and satisfaction through this Settlement.

(c) Plaintiffs take the position that under Zarin v. Commissioner of Internal
Revenue, 916 F.2d 110 (3d Cir. 1990), the Parties’ agreement to compromise and extinguish the
Class Members’ Disputed Deficiency Balances by way of an accord and satisfaction, as set forth
in § 8.01(a) hereof, constitute the resolution of contested liabilities, not a cancellation or

discharge of indebtedness, and that the compromise and extinguishment of the Class Members’

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Disputed Deficiency Balances by way of an accord and satisfaction therefore do not result in
taxable income to the Class Members. Accordingly, Plaintiffs contend that COAF is not
required to file IRS Form 1099-C informational returns with the IRS or furnish copies of the IRS
Forms 1099-C to the Class Members with respect to the compromise and extinguishment of the
Class Members’ Disputed Deficiency Balances by way of an accord and satisfaction.

(d) | COAF takes no position as to whether the compromise and
extinguishment of the Class Members’ Disputed Deficiency Balances by way of an accord and
satisfaction under § 8.01(a)} hereof result in taxable income to the Class Members.

(e) In connection with their Motion for Preliminary Approval, Plaintiffs
intend to seek a ruling from the Court, as set forth in the form of proposed Preliminary Approval
Order attached hereto as Exhibit A, that: (i) under Zarin v. Commissioner of Internal Revenue,
916 F.2d 110 (3d Cir. 1990), the compromise and extinguishment of the Class Members’
Disputed Deficiency Balances by way of an accord and satisfaction under § 8.01(a) hereof do not
result in taxable income to the Class Members; and (ii) COAF shall not file IRS Form 1099-C
informational returns with the IRS or furnish copies of the IRS Forms 1099-C to the Class
Members with respect to the compromise and extinguishment of the Class Members’ Disputed
Deficiency Balances by way of an accord and satisfaction.

(f) COAF agrees that it will not object to or oppose Plaintiffs’ request for a
ruling as set forth in § 8.02(e) hereof, provided that the proposed ruling states that the ruling
applies only to the Action and shall have no collateral estoppel effect as against COAF in any
other action, suit, proceeding, or other matter.

(g) In the event that the Court enters a Preliminary Approval Order directing

COAF to refrain from filing IRS Form 1099-C informational returns with the IRS and furnishing

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copies of the IRS Forms 1099-C to the Class Members with respect to the compromise and
extinguishment of the Class Members’ Disputed Deficiency Balances by way of an accord and
satisfaction, COAF agrees that it will not file IRS Form 1099-C informational returns with the
IRS or furnish copies of the IRS Forms 1099-C to the applicable Class Members with respect to
the compromise and extinguishment of the Class Members’ Disputed Deficiency Balances by
way of an accord and satisfaction unless the IRS independently determines that IRS Form 1099-
C reporting is required and directs COAF to so report, in which case COAF shall comply with
the IRS’s directive and, within seven (7) days of receipt of such directive, shall send a copy of
such communication to Class Counsel.

(h) In the event that the Court enters a Preliminary Approval Order but
declines to issue the ruling requested by Plaintiffs as set forth in § 8.02(e), then COAF shall
handle the IRS Form 1099-C reporting with respect to the Class Members’ Disputed Deficiency
Balances as it would in the ordinary course of business. In the event that COAF files with the
IRS Forms 1099-C with respect to compromise and extinguishment of the Class Members’
Disputed Deficiency Balances by way of an accord and satisfaction under § 8.01(a) hereof,
within thirty (30) days after filing the Forms 1099-C, COAF shall provide to Class Counsel a list
of the Class Members with respect to whom COAF issued the Forms 1099-C and the respective
amount of discharged debt reported for each such Class Member. In lieu of providing this list,
COAF may furnish to Class Counsel copies of the Forms 1099-C.

(i) The Parties acknowledge that even if COAF refrains from IRS Form
1099-C reporting with respect to the compromise and extinguishment of the Class Members’

Disputed Deficiency Balances by way of an accord and satisfaction under § 8.01(a) hereof, the

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Class Members may nonetheless be subject to tax liability with respect to the compromised and
deemed satisfied Disputed Deficiency Balances under applicable federal, state, and/or local law.

(j) Nothing in this Agreement shall impair any Class Member’s right to
challenge the income tax treatment of the relief he or she receives under this Settlement.

(k) The Parties acknowledge and agree that neither COAF, Defense Counsel,
nor Class Counsel has provided tax advice to Plaintiffs, the Class Members, or anyone else with
respect to the Settlement.

8.03. Requests for Deletion of Trade Lines.

(a) Subject to Final Approval, within thirty (30) days after the Effective Date,
as to each Class Member, excluding any Class Members whose requests for exclusion were
approved by the Court in the Final Approval Order, COAF shall make a written or electronic
request to the Credit Reporting Agencies to delete entirely the trade line relating to the Class
Member’s subject Auto Loan Account from the Class Member’s credit file. Nothing herein is
intended to, or shall be construed to, prevent COAF from taking steps to effectuate the requests
for deletion of the trade lines relating to the Class Members’ Auto Loan Accounts between the
date of the Court’s entry of the Final Approval Order and the Effective Date

(b) COAF agrees that, subject to Final Approval, after the Effective Date it
shall not submit any new credit reports to the Credit Reporting Agencies regarding any Class
Members’ subject Auto Loan Accounts.

(c) The Parties acknowledge and agree that: (i) the Credit Reporting
Agencies are independent entities that are not affiliated with COAF; (ii) COAF cannot and does
not control whether, when, or how the Credit Reporting Agencies will act upon the requests for

deletion of the Class Members’ trade lines; (iii) COAF is not responsible for ensuring or

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compelling the Credit Reporting Agencies’ action in response to the requests for deletion of the
Class Members’ trade lines; and (iv) COAF shall not be liable to any Class Member for the
failure of a Credit Reporting Agency to delete the Class Member’s trade line.

(d)  Ifafter a reasonable period of time, one or more of the Credit Reporting
Agencies fail(s) to delete the trade line relating to a Class Member’s subject Auto Loan, as
requested by COAF, Class Counsel may request that COAF resubmit the request to the Credit
Reporting Agencies to delete the trade line, and COAF shall resubmit the request for deletion of
the trade line within thirty (30) days of such request from Class Counsel. COAF shall not be
required to make more than three (3) affirmative requests to the Credit Reporting Agencies to
delete the trade line. If, after three (3) affirmative requests by COAF to the Credit Reporting
Agencies to delete the trade line, the trade line is still not removed and the Class Member
disputes the trade line with one or more of the Credit Reporting Agencies, then COAF agrees to
respond to such dispute by requesting that the trade line be deleted.

(e) The Parties acknowledge and agree that COAF shall not be liable to any
Class Member under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., the Fair Credit
Extension Uniformity Act, 73 Pa. C.S. § 2270.1 et seg., or any similar law for complying with
provisions of this § 8.03.
9. RELEASES

9.01. Release by Class 1 Releasors.

(a) Subject to Final Approval, on the Effective Date, the Class 1 Releasors, by
operation of this Agreement, do and shall forever release, remise, waive, acquit, and discharge
the COAF Releasees from, and covenant not to sue the COAF Releasees in connection with, any
and all Claims the Class 1 Releasors ever had, now have, or in the future may have against the

COAF Releasees arising out of or in any way relating to the Action, the Auto Loans and Auto

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Loan Accounts that are the subject of this Settlement, the Post-Repossession Notices issued by
COAF on or before the Effective Date, the Post-Sale Notices issued by COAF on or before the
Effective Date, the Disputed Deficiency Balances, and COAF’s policies, procedures, and
practices on or before the Effective Date related to the repossession of motor vehicles, the
issuance of Post-Repossession Notices, the issuance of Post-Sale Notices, or the Disputed
Deficiency Balances, subject to the exceptions set forth in this § 9.01.

(b) Notwithstanding the foregoing, the release set forth in this § 9.01 does not
and shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claims or
defenses of any Reinstatement Sub-Class Members relating to their reinstated Auto Loan
Accounts that arise after the Effective Date.

(c) Notwithstanding, the foregoing, the release set forth in this § 9.01 does not
and shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claim by any
Class 1 Releasors for statutory damages under 13 Pa. C.S. § 9625(e)(5) arising from or relating
to any Post-Sale Notice allegedly sent by or allegedly required to be sent by COAF. Pursuant to
this § 9.01, any Borrower who is a Class 1 Member but not a Class 2 Member, and who does not
seek exclusion from Class 1, will release and waive inter alia any Claim against COAF arising
from or relating to the Post-Repossession Notice COAF sent to the Class Member, including
without limitation any Claim as a member of the putative “Public Auction Class” and/or “Hidden
Fees Class” in the Dudo Action, but will not release and waive any Claim against COAF for
statutory damages under 13 Pa. C.S. § 9625(e)(5) arising from or relating to any Post-Sale Notice
allegedly sent by or allegedly required to be sent by COAF to the Class 1 Member, including
without limitation any Claims as a member of the putative “UCC Post-Sale Notice Class” and/or

“MVSFA Post-Sale Notice Class” in the Dudo Action, which latter Class 1 Unreleased Claims

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are unaffected by the Action and this Settlement. Pursuant to §§ 9.01 and 9.02 hereof, any
Borrower who is both a Class 1 Member and a Class 2 Member, such as Plaintiffs, and who does
not seek exclusion from either class, will release and waive inter alia any Claim against COAF
arising from or relating to the Post-Repossession Notice COAF sent to the Class Member and
any Claim against COAF arising from or relating to the Post-Sale Notice COAF sent to or
allegedly failed to send to the Class Member, including without limitation all Claims in the Dudo
Action.

(d) Notwithstanding the foregoing, the release set forth in this § 9.01 does not
and shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claims or
defenses of the Class 1 Releasors arising from or relating to the enforcement of this Agreement.

9.02. Release by Class 2 Releasors.

(a) Subject to Final Approval, on the Effective Date, the Class 2 Releasors, by
operation of this Agreement, do and shall forever release, remise, waive, acquit, and discharge
the COAF Releasees from, and covenant not to sue the COAF Releasees in connection with, any
and all Claims the Class 2 Releasors ever had, now have, or in the future may have against the
COAF Releasees arising out of or in any way relating to the Action, the Auto Loans and Auto
Loan Accounts that are the subject of this Settlement, the Post-Repossession Notices issued by
COAF on or before the Effective Date, the Post-Sale Notices issued by COAF on or before the
Effective Date, the Disputed Deficiency Balances, and COAF’s policies, procedures, and
practices on or before the Effective Date related to the repossession of motor vehicles, the
issuance of Post-Repossession Notices, the issuance of Post-Sale Notices, or the Disputed

Deficiency Balances, subject to the exceptions set forth in this § 9.02.

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(b) Notwithstanding, the foregoing, the release set forth in this § 9.02 does not
and shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claim by any
Class 2 Releasors for statutory damages under 13 Pa. C.S. § 9625(c}(2) arising from or relating
to any Post-Repossession Notice allegedly sent by or allegedly required to be sent by COAF.
Pursuant to this § 9.02, any Borrower who is a Class 2 Member but not a Class 1 Member, and
who does not seek exclusion from Class 2, will release and waive inter alia any Claim against
COAF arising from or relating to the Post-Sale Notice COAF sent to or allegedly failed to send
to the Class Member, including without limitation any Claim as a member of the putative “UCC
Post-Sale Notice Class” and/or “MVSFA Post-Sale Notice Class” in the Dudo Action, but will
not release and waive any Claim against COAF for statutory damages under 13 Pa. C.S. §
9625(c)(2) arising from or relating to any Post-Repossession Notice allegedly sent by or
allegedly required to be sent by COAF to the Class 2 Member, including without limitation any
Claims as a member of the putative “Public Auction Class” and/or “Hidden Fees Class” in the
Dudo Action, which latter Class 2 Unreleased Claims are unaffected by the Action and this
Settlement. Pursuant to §§ 9.01 and 9.02 hereof, any Borrower who is both a Class 1 Member
and a Class 2 Member, such as Plaintiffs, and who does not seek exclusion from either class, will
release and waive inter alia any Claim against COAF arising from or relating to the Post-
Repossession Notice COAF sent to the Class Member and any Claim against COAF arising from
or relating to the Post-Sale Notice COAF sent to or allegedly failed to send to the Class Member,
including without limitation all Claims in the Dudo Action.

(c) Notwithstanding the foregoing, the release set forth in this § 9.02 does not
and shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claims or

defenses of the Class 2 Releasors arising from or relating to the enforcement of this Agreement.

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9.03. Release by COAF Releasors.

(a) Subject to Final Approval, on the Effective Date, the COAF Releasors, by
operation of this Agreement, do and shall forever release, remise, waive, acquit, and discharge
the Class Releasees from, and covenant not to sue the Class Releasees in connection with, any
and all Claims the COAF Releasors ever had, now have, or in the future may have against the
COAF Releasees arising out of or in any way relating to the Action or the Auto Loans and Auto
Loan Accounts that are the subject of this Settlement or the Disputed Deficiency Balances
existing on or before the Effective Date.

(b) Notwithstanding the foregoing, the release set forth in this § 9.03 does not
and shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claims or
defenses of COAF relating to the Reinstatement Sub-Class Members’ reinstated Auto Loan
Accounts that arise after the Effective Date.

(c) Notwithstanding the foregoing, while the Parties agree that this Action and
this Settlement do not and shall not affect the Class 1 Unreleased Claims and the Class 2
Unreleased Claims described in §§ 9.01(c) and 9.02(b), including any unreleased claims asserted
in the Dudo Action, the release set forth in this § 9.03 does not and shall not be deemed to waive
or affect any of COAF’s defenses to any Claim by any Class Member that is not a Released
Claim, including but not limited to COAF’s defenses to the Class 1 Unreleased Claims and the
Class 2 Unreleased Claims.

9.04. Notwithstanding the foregoing, the release set forth in this § 9.03 does not and
shall not be deemed to release, remise, waive, acquit, affect, or discharge any Claims or defenses

of the COAF Releasors arising from or relating to the enforcement of this Agreement.

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10. DENIAL OF LIABILITY —NO ADMISSIONS

10.01. Plaintiffs, on their own behalf and on behalf of the Class Members, dispute the
commercial reasonableness of COAF’s practices regarding the issuance of Post-Repossession
Notices and Post-Sale Notices to the Class Members and dispute the existence, amount, and
validity of any Disputed Deficiency Balances.

10.02. COAF, on the other hand, denies that its practices regarding the issuance of Post-
Repossession Notices and Post-Sale Notices to the Class Members violated the UCC, denies any
liability to Plaintiffs or the Class Members, and asserts that it is entitled to pursue collection of
the Disputed Deficiency Balances.

10.03. Neither the Settlement, nor this Agreement, nor any of the Parties’ settlement
discussions, shall be construed as an admission or concession: (i) by COAF as to any liability to
Plaintiffs or the Class Members; or (ii) by Plaintiffs or any Class Member as to the existence,
amount, or validity of any Disputed Deficiency Balance or as to any liability to COAF.

10.04. Except as necessary in a proceeding to enforce the terms of this Agreement, this
Agreement and any evidence of the Settlement or the Parties’ settlement discussions, shall not be
offered or received as evidence in any action, proceeding, or suit to establish any liability or
admission by any Party.

10.05. The Parties expressly agree and represent that, in the event that the Court does not
enter the Preliminary Approval Order or the Final Approval Order, the Final Approval Order is
vacated as the result of any appeal, preventing the Agreement from becoming final and effective,
or this Agreement is terminated in accordance with § 11.01, no Party will use or attempt to use
any conduct or statement of any other Party in connection with this Agreement or any effort to
seek approval of the Agreement to affect or prejudice any other Party’s rights in any ensuing

suit,

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10.06. COAF has agreed resolve the Action through this Agreement, but in the event that
the Court does not enter the Prelimimary Approval Order or the Final Approval Order, the Final
Approval Order is vacated as the result of any appeal, preventing the Agreement from becoming
final and effective, or this Agreement is terminated in accordance with § 11.01, COAF does not
waive, but rather expressly reserves, all rights, claims, and defenses, including the Released
Claims. To the extent this Agreement is deemed void or Final Approval does not occur, COAF
reserves the right to defend against Plaintiffs’ claims in the Action on any available legal,
factual, or procedural grounds, including without limitation on the grounds that Plaintiffs do not
satisfy the requirements for class certification.

10.07. Plaintiffs have agreed to resolve the Action on their own behalf and on behalf of
the Class Members through this Agreement, but in the event that the Court does not enter the
Preliminary Approval Order or the Final Approval Order, the Final Approval Order is vacated as
the result of any appeal, preventing the Agreement from becoming final and effective, or this
Agreement is terminated in accordance with § 11.01, the Plaintiffs, on their own behalf and on
behalf of the putative class members, do not waive, but rather expressly reserve, all rights,
claims, and defenses including the Released Claims. To the extent this Agreement is deemed
void or Final Approval does not occur, Plaintiffs reserve the right to pursue their claims in the
Action on any available legal, factual, or procedural grounds.

11. TERMINATION OF THIS AGREEMENT

 

11.01. Excessive Requests for Exclusion.
(a) In the event that either: (i) 5% or more of the Class 1 Members to whom
Class Notice is mailed request exclusion from Class 1 in accordance with the Class Notice; or (ii)
5% or more of the Class 2 Members to whom Class Notice is mailed request exclusion from

Class 2 in accordance with the Class Notice, COAF, in its sole discretion, may elect to terminate

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this Agreement by providing written notice to Class Counsel within fourteen (14) days after the
Settlement Administrator provides to Defense Counsel lists of the Class Members who requested
exclusion from the Classes as set forth in §§ 5.06(d) and (e).

(b) Neither COAF, Defense Counsel, Plaintiffs, nor Class Counsel shall
directly or indirectly solicit or encourage any Class Member to request exclusion from either of
the Classes.

11.02. Effect of Termination. In the event that this Agreement terminates without Final
Approval, the Action will revert to its status as it existed immediately prior to the filing of this
Agreement, and the Settlement Fund, including any interest which has accrued thereon, will be
returned to COAF within fourteen (14) days, except for any monies paid or due the Settlement
Administrator for actual costs incurred for Settlement Administration Costs, not to exceed
$100,000.

12. MISCELLANEOUS PROVISIONS

12.01. Dismissal of Action. Subject to Final Approval, within fourteen (14) days after
the Effective Date, Plaintiffs shall file with the Court a stipulation dismissing the Action with
prejudice.

12.02. Pending Dudo Action. Upon the Preliminary Approval Date, Plaintiffs shall
exclude themselves from the putative classes alleged in the Dudo Action. Class Counsel and
Defense Counsel agree, upon the Effective Date, to reasonably cooperate to conform the
pleadings in the Dudo Action in a manner consistent with §§ 9.01 and 9.02 of this Agreement.

12.03. Confidentiality and Non-Disparagement.

(a) The Parties agree that their settlement discussions and the documents

exchanged between the Parties in connection with such discussions shall remain strictly

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confidential and shall not be disclosed to anyone other than the Parties, Class Counsel, and
Defense Counsel.

(b) The Parties agree that the Class Members’ personally-identifiable
information and personal financial information, including the details relating to their Auto Loan
Accounts, shall remain confidential and shall not be disclosed to anyone other than the Parties,
Class Counsel, Defense Counsel, and the Settlement Administrator, as necessary to administer
the Settlement.

(c) Plaintiffs and Class Counsel shall not publicly disparage or encourage any
Class Member to publicly disparage: (i) COAF; (ii) any of COAF’s representatives; (iii)
COAF’s conduct relating to this Agreement, the Settlement, the Action, the Auto Loans and
Auto Loan Accounts that are the subject of this Settlement, the Post-Repossession Notices issued
by COAF, the Post-Sale Notices issued by COAF, or the Class Members’ Deficiency Balances;
or (iv) COAF’s policies, procedures, and practices related to the repossession of motor vehicles,
the issuance of Post-Repossession Notices, the issuance of Post-Sale Notices, or Deficiency
Balances.

12.04. No Restraint on Legal Advice, Nothing in this Agreement is intended to, or shall
be construed to, prevent or inhibit Class Counsel from providing legal advice to Class Counsel’s
clients including Plaintiffs and, after the Preliminary Approval Date, any other Class Members.

12.05. Right to Cure. The Parties, Class Counsel, and Defense Counsel agree to
reasonably cooperate to comply with the terms of this Agreement. If any Party fails to comply
with a term or condition of this Agreement, the Party shall have the right to cure such non-
compliance within fourteen (14) days after receiving written notice by the other Party. No Party

shall commence legal action or seek intervention by the Court with respect to another Party’s

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EXECUTION COPY

failure to comply with the terms or conditions of this Agreement without first providing written
notice and an opportunity for the other Party to cure the non-compliance(s).

12.06. Notices. Any notices or requests required to be sent under this Agreement shall
be sent via hand delivery, overnight delivery (by Federal Express of United Parcel Service), or
email as follows:

(a) If to Plaintiffs or Class Counsel:
Richard E. Shenkan, Esquire
Shenkan Injury Lawyers, LLC
6550 Lakeshore Street
West Bloomfield, MI 48323
rshenkan@shenkanlaw.com

(b) Ifto COAF or Defense Counsel:
Joseph T. Kelleher, Esquire
Stradley Ronon Stevens & Young, LLP

2005 Market Street, Suite 2600
Philadelphia, PA 19103

jkelleher(@stradley.com

12.07. Governing Law and Enforcement. This Agreement shall be governed by the laws
of the Commonwealth of Pennsylvania without regard to conflict of laws rules. This Agreement
shall be enforced in the Court, and the Parties waive any objection to the venue of any lawsuit,
action, or proceeding to enforce this Agreement in the Court.

12.08. Entire Agreement. The terms and conditions set forth in this Agreement
constitute the complete and exclusive statement of the agreement between the Parties relating to
the subject matter of this Agreement, superseding all previous negotiations and understandings,
and may not be contradicted by evidence of any prior or contemporaneous agreement. The
Parties further intend that this Agreement, including the exhibits attached hereto, constitutes the

complete and exclusive statement of these terms as between them.

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12.09. Cooperation. The Parties, Class Counsel, and Defense Counsel shall cooperate
with each other and the Settlement Administrator as reasonably necessary to effectuate the
Settlement.

12.10. Headings. The headings and sub-headings in this Agreement are for the purpose
of convenience only and are not to have legal effect.

12.11. Modification in Writing Only. This Agreement may be altered, amended,
modified or waived, in whole or in part, only in a writing signed by the Parties or counsel for the
Parties. This Agreement may not be orally amended, altered, modified or waived, in whole or in
part.

12.12. No Contra Proferentem. The determination of the terms of, and the drafting of,
this Agreement have been by mutual agreement after negotiation, with consideration by and
participation of all Parties hereto. Accordingly, this Agreement will be considered neutral and
no ambiguity will be construed in favor or against any of the Parties.

12.13. Successors. This Agreement shall be binding upon, and inure to the benefit of,
the respective heirs, successors and assigns of the Parties hereto.

12.14. Execution. The Parties may execute this Agreement in counterparts, and
execution of counterparts shall have the same force and effect as if all Parties had signed the
same instrument. This Agreement may be executed by facsimile signature, and a facsimile
signature will have the same legal effect as an original signature

12.15. Waiver. The waiver by one Party of any provision or breach of this Agreement

 

shall not be deemed a waiver of any other provision or breach of this Agreement.
12.16. Retention of Jurisdiction. The Court shall retain jurisdiction over the

interpretation, effectuation, and implementation of this Agreement and the approval and

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EXECUTION COPY

enforcement of the Settlement. The Parties and the Settlement Administrator submit to the
jurisdiction of the Court in connection with this Agreement and the Settlement.

IN WITNESS WHEREOF, the Parties and their Counsel, being duly authorized,
have caused this Agreement to be executed on the dates shown below.

eWyY WV

RANDY LANGER

Date: “- ne | 4

 

JAMES LANGER

Date:

 

 

CAPITAL ONE AUTO FINANCE,
a division of CAPITAL ONE, N.A.

By:

 

Its:

 

Date:

 

 

SHENKAN INJURY LAWYERS, LLC
(Class Counsel)
By: Richard E. Shenkan, Esquire

Date:

 

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EXECUTION COPY

enforcement of the Settlement. The Parties and the Settlement Administrator submit to the
jurisdiction of the Court in connection with this Agreement and the Settlement.
IN WITNESS WHEREOF, the Parties and their Counsel, being duly authorized,

have caused this Agreement to be executed on the dates shown below.

 

RANDY LANGER

  

 

   

ANGER

Date: Y [ 28/. / Gq

 

CAPITAL ONE AUTO FINANCE,
a division of CAPITAL ONE, N.A.

By:

 

Its:

 

Date:

 

 

SHENKAN INJURY LAWYERS, LLC
(Class Counsel)
By: Richard E. Shenkan, Esquire

Date:

 

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EXECUTION COPY

enforcement of the Settlement. The Parties and the Settlement Administrator submit to the
jurisdiction of the Court in connection with this Agreement and the Settlement.
IN WITNESS WHEREOF, the Parties and their Counsel, being duly authorized,

have caused this Agreement to be executed on the dates shown below.

 

RANDY LANGER

Date:

 

 

JAMES LANGER

Date:

Sx be fh AE.

CAPITAL ONE AUTO FINANCE,
a division of CAPITAL ONE, N.A.

By: Steven Ls. (SAa5 hid
ts: SUP FS Loan Seviccng
Date: 4/29 12014

 

 

 

SHENKAN INJURY LAWYERS, LLC
(Class Counsel)
By: Richard E. Shenkan, Esquire

Date:

 

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EXECUTION COPY

enforcement of the Settlement. The Parties and the Settlement Administrator submit to the
jurisdiction of the Court in connection with this Agreement and the Settlement.
IN WITNESS WHEREOPF, the Parties and their Counsel, being duly authorized,

have caused this Agreement to be executed on the dates shown below.

 

RANDY LANGER

Date:

 

 

JAMES LANGER

Date:

 

 

CAPITAL ONE AUTO FINANCE,
a division of CAPITAL ONE, N.A.

 

By:

Its:

 

Date:

 

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SHE A
(Class C 1)
By: Richard qui

 

 

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S NON STEVENS & YOUNG, LLP
(Defense Counsel)
By: Joseph T. Kelleher, Esquire

Date: April 29, 2019

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EXHIBIT A

[Proposed Preliminary Approval Order]
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EXHIBIT A

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

RANDY LANGER and JAMES LANGER, ) CIVIL ACTION

)

Plaintiffs, ) No. 2:16-cv-06130-HB
)
)
Vv. )
)
)
CAPITAL ONE AUTO FINANCE, a division of)
CAPITAL ONE, N.A., )
)
Defendant )
ORDER

AND NOW, this day of , 2019, upon consideration of

 

Plaintiffs’ Uncontested Motion for Preliminary Settlement Approval, Conditional Certification of
Settlement Classes, and Approval of Class Settlement Notice (the “Motion”), it is hereby
ORDERED that the Motion is GRANTED. It is further ORDERED as follows:

1. Summary of Claims. Plaintiffs, Randy Langer and James Langer, commenced
this putative class action against Defendant, Capital One Auto Finance, a division of Capital
One, N.A. (“COAF”), asserting claims on their own behalf and on behalf of similarly-situated
Pennsylvania consumer auto loan borrowers, arising from COAF’s practices with respect to
sending: (i) post-repossession notices informing Pennsylvania consumer borrowers of the
repossession of their motor vehicles and COAF’s intention to dispose of the repossessed motor
vehicles (“Post-Repossession Notices”); and (ii) post-sale notices to Pennsylvania consumer
borrowers explaining the calculation of the claimed post-sale deficiency balances on the
borrowers’ loans (“Post-Sale Notices”). Plaintiffs allege, inter alia, that COAF’s practices with

respect to sending Post-Repossession Notices and Post-Sale Notices violated the Pennsylvania
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EXHIBIT A

Uniform Commercial Code, 13 Pa. C.S. § 9601, et seg. (the “UCC”), which Plaintiffs contend
must be read in pari materia with the Pennsylvania Motor Vehicle Sales Finance Act. In
addition to seeking statutory damages, Plaintiffs seek the extinguishment of any deficiency
balances that COAF claims are owed following the sales of Plaintiffs’ and the putative class
members’ repossessed motor vehicles, the reimbursement of certain amounts paid by the putative
class members in respect of those claimed deficiency balances, and the removal of the credit
trade lines for Plaintiffs and each putative class member relating to their Auto Loans. COAF, on
the other hand, denies that it violated the UCC, denies any liability to Plaintiffs or any putative
class members, and asserts that it is entitled to pursue collection of the disputed deficiency
balances on Plaintiffs’ and the putative class members’ auto loans.

2. Proposed Settlement. Plaintiffs and COAF (the “Parties”) have agreed, subject
to approval by the Court, to resolve this action on a class-wide basis in accordance with the terms
of an executed Class Action Settlement Agreement and Release (the “Settlement Agreement”), a
copy of which was attached as Exhibit 1 to the Motion.’ Pursuant to the Settlement Agreement,
in exchange for a release of the claims of Plaintiffs and the Class Members, except those claims
and defenses expressly preserved by the Settlement Agreement, COAF, without admitting any
liability, agrees to: (i) make a gross settlement payment to the Class Members in the aggregate
sum of $6,500,000.00; (ii) compromise and extinguishment of the Disputed Deficiency Balances
on Plaintiffs’ and the Class Members’ Auto Loans by way of an accord and satisfaction; (iii)
vacate or mark satisfied any unsatisfied deficiency judgments against the Class Members; (iv)

request that the Credit Reporting Agencies delete the trade lines associated with Plaintiffs’ and

 

' Unless defined herein, all capitalized terms in this Order shall have the meanings ascribed to

them in the Settlement Agreement. The Settlement Agreement, including its exhibits, is
incorporated by reference in this Order.
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EXHIBIT A

the Class Members’ Auto Loans; and (v) return to the Class Members the Post-Stay Payments
they made toward their Disputed Deficiency Balances on or after April 24, 2017, the date of the
Parties’ first mediation session.

3. Preliminary Settlement Approval. The Court preliminarily finds that the
Settlement between the Parties, as memorialized in the Settlkement Agreement, is fair, adequate,
in the best interests of the Class Members, and within the range of reasonableness for
preliminary settlement approval. The Court finds that: (a) the Settlement resulted from arm’s
length negotiations; and (b) the Settlement is sufficiently reasonable to warrant notice of the
Settlement to the Class Members and a full hearing on the approval of the Settlement.

4. Conditional Class Certification. Pursuant to Federal Rule of Civil Procedure

23(b)(3), the Court conditionally certifies, for settlement purposes only, the following Classes:

(a) Class 1 (Post-Repossession Notice Class). All Borrowers: (i) who

entered into an Auto Loan for personal, family, or household purposes; (ii)
whose motor vehicle was repossessed by COAF; (iii) whose mailing
address at the time of the repossession, according to COAF’s business
records, was in Pennsylvania; and (iv) to whom COAF sent a Post-
Repossession Notice during the Class | Period” that stated a minimum
redemption period of fewer than fifteen (15) days from the date of the
Post-Repossession Notice.

(b) Class 2 (Post-Sale Notice Class). All Borrowers: (i) who entered into an

Auto Loan for personal, family, or household purposes; (ii) whose motor
vehicle was repossessed by COAF; (iii) whose motor vehicle was sold by
COAF during the Class 2 Period;* (iv) whose mailing address and/or
whose co-obligor’s mailing address at the time of the sale of the vehicle,
according to COAF’s business records, was/were in Pennsylvania; and (v)
to whom COAF did not mail a separately addressed Post-Sale Notice after
the sale of the motor vehicle or to whose co-obligor on the Auto Loan
COAF did not mail a separately addressed Post-Sale Notice after the sale
of the motor vehicle.

 

? The Class 1 Period is February 1, 2015 to July 29, 2015, inclusive.
3 The Class 2 Period is October 5, 2010 to June 9, 2017, inclusive.

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EXHIBIT A

5. Findings as to Class 1. Pursuant to Federal Rule of Civil Procedure 23, the

Court preliminarily finds, for settlement purposes only, that:

(a)

(b)

(c)

(d)

(c)

(f)

Class 1 appears to be so numerous that joinder of all members is
impracticable;

There appear to be questions of law or fact common to Class | for the
purposes of determining whether the Settlement should be approved;

Plaintiffs’ claims appear to be typical of the Class 1 claims being resolved
through the Settlement;

Plaintiffs appear to be capable of fairly and adequately protecting the
interests of Class | in connection with the proposed Settlement;

Common questions of law and fact appear to predominate over questions
affecting only individual Class 1 members, and Class 1 appears to be
sufficiently cohesive for settlement of the Class 1 claims on a class-wide
basis; and

Certification of Class | appears to be superior to other available methods
for the fair and efficient resolution of the Class 1 claims.

6. Findings as to Class 2. Pursuant to Federal Rule of Civil Procedure 23, the

Court preliminarily finds, for settlement purposes only, that:

(a)

(b)

(c)

(d)

(e)

(f)

Class 2 appears to be so numerous that joinder of all members is
impracticable;

There appear to be questions of law or fact common to Class 2 for the
purposes of determining whether the Settlement should be approved;

Plaintiffs’ claims appear to be typical of the Class 2 claims being resolved
through the Settlement;

Plaintiffs appear to be capable of fairly and adequately protecting the
interests of Class 2 in connection with the proposed Settlement;

Common questions of law and fact appear to predominate over questions
affecting only individual Class 2 members, and Class 2 appears to be
sufficiently cohesive for settlement of the Class 2 claims on a class-wide
basis; and

Certification of Class 2 appears to be superior to other available methods
for the fair and efficient resolution of the Class 2 claims.
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EXHIBIT A

7. Findings as to the Compromise and Extinguishment of the Disputed

Deficiency Balances in an Accord and Satisfaction. Pursuant to the Settlement, COAF shall
permanently extinguish the Disputed Deficiency Balances of the Class Members (excluding
those Class Members whose requests for exclusion are approved by the Court), with such
Disputed Deficiency Balances being compromised in an accord and satisfaction. The Parties
acknowledge and agree, and the Court finds, that the Disputed Deficiency Balances are disputed
liabilities. Plaintiffs contend, and the Court finds, that under Zarin v. Commissioner of Internal
Revenue, 916 F.2d 110 (3d Cir. 1990), the Parties’ agreement to compromise and extinguish the
Disputed Deficiency Balances by way of an accord and satisfaction, as set forth in the Settlement
Agreement, constitutes the resolution of contested liabilities, not a cancellation or discharge of
indebtedness, and the compromise and extinguishment of the Disputed Deficiency Balances by
way ofan accord and satisfaction therefore do not result in taxable income to the Class
Members. Accordingly, the Court rules that COAF shall not file IRS Form 1099-C
informational returns with the Internal Revenue Service (the “IRS”) or furnish copies of the IRS
Forms 1099-C to the Class Members with respect to the compromise and extinguishment of the
Class Members’ Disputed Deficiency Balances by way of an accord and satisfaction as set forth
in the Settlement Agreement. This finding is subject to modification if the IRS independently
determines that IRS Form 1099-C reporting is required with respect to the compromise and
extinguishment of the Class Members’ Disputed Deficiency Balances and directs COAF to so
report, in which case COAF shall promptly notify this Court and Class Counsel and shall comply
with the IRS’s directive unless further directed by this Court. The Court’s findings and ruling

with regard to IRS Form 1099-C reporting are limited to the facts and circumstances of this
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EXHIBIT A

unique Settlement and shall have no collateral estoppel effect as against COAF in any other
action, suit, proceeding, or other matter.

8. Preliminary Appointment of Class Representatives and Class Counsel. For
settlement purposes only, the Court preliminarily appoints Plaintiffs as the class representatives
for Class 1 and Class 2 and preliminarily appoints Richard Shenkan and Shenkan Injury
Lawyers, LLC, as class counsel for Class 1 and Class 2. The Court preliminarily finds that
Plaintiffs and Class Counsel have and will fairly and adequately represent the interests of the
Class Members with respect to the Settlement. Plaintiffs and Class Counsel, on behalf of Class 1
and Class 2, are authorized to take all appropriate actions required and permitted to be taken by
the Settlement Agreement to effectuate its terms.

9. Appointment of Settlement Administrator. BrownGreer PLC is appointed as
the third-party administrator (the “Settlement Administrator”) to assist in the administration of
the Settlement and the notification to the Class Members, as set forth in the Settlement
Agreement. The Court finds that it is necessary for COAF to disclose to the Settlement
Administrator confidential class data, including the names, addresses, telephone numbers, email
addresses, and Social Security Numbers of the Class Members, with such information being
deemed “Confidential Information” for the purposes of the Confidentiality Agreement and
Stipulated Protective Order entered by the Court in this action [ECF No. 10] (the “Protective
Order”). The Settlement Administrator shall be bound by the terms of the Protective Order and
subject to the jurisdiction of the Court for the purposes of this action and the Settlement.

10. Approval of Manner and Form of Proposed Class Notice. The Court approves
the proposed Class Notice attached as Exhibit B to the Settlement Agreement and the proposed

manner of mailing the Class Notice, as set forth in the Settlement Agreement, finding that the
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EXHIBIT A

Class Notice fully satisfies the requirements of Due Process, the applicable requirements of the
Federal Rules of Civil Procedure, and Class Counsel’s obligations to Class Members, and
constitutes reasonable and sufficient notice to all Class Members, as practicable under the
circumstances. The Class Notice shall be sent by the Settlement Administrator to the Class
Members by first-class U.S. mail, postage prepaid, not later than sixty (60) days following the
entry of this Order.

11. Qualified Settlement Fund. Class Counsel and/or the Settlement Administrator
is/are authorized to establish the Settlement Account at PNC Bank (or another federally-insured
financial institution to be selected by Class Counsel) which satisfies the requirements to be a
“Qualified Settlement Fund” within the meaning of Treasury Regulation Section 1.468B-1,
promulgated under Section 468B of the Internal Revenue Code of 1986, as amended. As set
forth in the Settlement Agreement, the Settlement Administrator will administer the Settlement
Fund and will be the “Administrator” of this Qualified Settlement Fund within the meaning of
Treasury Regulation § 1.468B-2(k)(3). Class Counsel and/or the Settlement Administrator shall
establish the Qualified Settlement Fund in accordance with the terms of the Settlement
Agreement.

12. Class Members’ Right to Object to the Settlement. As set forth in the
Settlement Agreement and the proposed Class Notice, all Class Members have the right to object
to the Settlement, by sending a written objection to the Settlement Administrator in accordance
with the Class Notice. As set forth in the Class Notice, written objections to the Settlement must
be post-marked no later than forty-five (45) days after the date of the Class Notice. Class
Counsel shall file copies of all written objections to the Settlement with Plaintiffs’ motion for

final approval of the Settlement in advance of the final approval hearing.
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EXHIBIT A

13. Class Members’ Right to Request Exclusion from the Classes. As set forth in

the Settlement Agreement and the proposed Class Notice, all Class Members have the right to
request exclusion from Class | and/or Class 2 by sending a written request for exclusion to the
Settlement Administrator in accordance with the Class Notice. Any written request for exclusion
must: (i) set forth the Class Member’s full name, current address, telephone number and email
address, if available, (ii) contain the signatures of any Class Member (or his or her guardian,
administrator, or executor) obligated on the Class Member’s Auto Loan, and (iii) state the intent
of all signatory(ies) not to participate in the Settlement. As set forth in the Class Notice, written
requests for exclusion from Class 1 and/or Class 2 must be post-marked no later than forty-five
(45) days after the date of the Class Notice. Class Members who do not timely exclude
themselves from the Classes in accordance with the Class Notice shall be bound by the Court’s
Order finally approving the Settlement, if final approval is granted. Class Counsel shall file
copies of all written requests for exclusion from the Classes with Plaintiffs’ motion for final
approval of the Settlement in advance of the final approval hearing.

14. Final Approval Hearing. A final approval hearing with respect to the Settlement
(the “Final Approval Hearing’) shall take place before the Honorable Harvey Bartle III in
Courtroom 16-A, at the United States District Court for the Eastern District of Pennsylvania, 601
Market Street, Philadelphia, PA 19106, on , 2019, at . At the
Final Approval Hearing the Court will consider, inter alia: (i) whether the Settlement is fair and
reasonable; (ii) whether the Class Counsel Fees are fair and reasonable; (iii) whether the Class
Counsel Costs are fair and reasonable; (iv) whether the Settlement Administration Costs are fair
and reasonable; (v) whether the Incentive Awards are fair and reasonable; and (vi) whether the

Final Approval Order, dismissing the Action on the merits and with prejudice as to the Class
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EXHIBIT A

Members who did not timely excluded themselves from the Classes, should be entered. The
Court will also hear and consider any properly lodged objections to the Settlement. Any Class
Member may appear and be heard at the Final Approval Hearing, either in person or through
counsel retained at the Class Member’s expense. The Final Approval Hearing may be
postponed, adjourned, or rescheduled by Order of the Court without further notice to the Class
Members.

15. Motion for Final Approval. After the Class Notice has been mailed to the Class
Members, and no later than fourteen (14) days before the Final Approval Hearing, Plaintiffs shall
file a Motion for Final Approval seeking a Final Approval Order in accordance with the
Settlement Agreement, approving the Agreement as final, fair, reasonable, adequate, and binding
on all Class Members who have not excluded themselves from the Classes and ordering that the
Settlement Fund be distributed in accordance with the Settlement Agreement and that the
additional class relief be conferred to the eligible Class Members in accordance with the
Settlement Agreement. The Motion for Final Approval shall include Class Counsel’s application
for awards of Class Counsel Fees, Class Counsel Costs, Settlement Administration Costs, and
Plaintiffs’ Incentive Awards.

16. Stay of Proceedings. All proceedings in this action are stayed pending final
approval of the Settlement, except as may be necessary to implement the Settlement or to comply
with the terms of the Settlement Agreement.

17. Effect of Termination. Ifthe Settlement Agreement is terminated or is not
consummated for any reason, or if Final Approval is not obtained, this Order, including the
preliminary approval of the Settlement, the conditional certification of Class 1 and Class 2, the

preliminary appointment of Plaintiffs as class representatives, and the preliminary appointment
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EXHIBIT A

of Class Counsel, shall be vacated and deemed void and of no effect, and this action shall
proceed as though such approval, certification, and appointments never occurred, with the Parties
reserving all rights, including with respect to class certification. Further, in such event, neither
the Settlement Agreement, the Motion, this Order, nor any documents related thereto shall be
referred to or used by any Party to establish liability, damages, or class certification or for any
other purpose.

18. Retention of Jurisdiction. The Court retains jurisdiction to consider all further
applications arising out of or related to the Settlement Agreement. The Court may approve or

modify the Settlement without further notice to the Class Members.

BY THE COURT:

 

HARVEY BARTLE III, J.

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EXHIBIT B

[Proposed Class Notice]
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YOU MAY BE A MEMBER OF CLASS [ ] EXHIBIT B

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Langer, et al. v. Capital One Auto Finance, a division of Capital One, N.A.
No. 2:16-cv-06130-HB

NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

You may be entitled to receive a settlement payment,
the extinguishment of disputed debt, and credit reporting relief
in connection with a class action against Capital One Auto Finance

A Federal Court has authorized this Notice.
This is not a solicitation from a lawyer.

This proposed settlement (the “Settlement”), if approved by the Court, will resolve a class action lawsuit
against Capital One Auto Finance, a division of Capital One, N.A. (the “Bank”), over whether the Bank
sent proper notices to borrowers of their rights after the Bank repossessed their motor vehicles (“Post-
Repossession Notices”) and whether the Bank sent proper notices to borrowers of their rights after the
Bank sold the repossessed vehicles (“Post-Sale Notices”).

The class action lawsuit, Langer, et al. v. Capital One Auto Finance, a division of Capital One, N.A., No.
2:16-cv-06130-HB (the “Lawsuit”), is pending before the United States District Court for the Eastern
District of Pennsylvania. The Bank denies and disputes the claims asserted in the Lawsuit. The
Settlement avoids the costs and risks to the parties associated with proceeding with the Lawsuit.

Under the Settlement the Bank will: (a) provide a gross settlement payment of $6,500,000.00 to be
distributed to class members after the payment of administrative costs, Class Counsel's legal fees and
costs, and incentive payments to the representative plaintiffs; (b) permanently extinguish the disputed
deficiency balances that the Bank claims are owed on the class members’ auto loans with the Bank; (c)
refund payments that the class members made toward the claimed deficiency balances during the time
period after the Bank and the representative plaintiffs started negotiating this settlement; (d) request that
the credit reporting agencies delete the credit reporting trade lines associated with the class members’
auto loans with the Bank; and (e) vacating of any deficiency judgments. In exchange, the Bank will be
released from liability, except for except for narrowly-defined exceptions described in the Settlement
Agreement. The Settlement Agreement can be reviewed at [website address], by reviewing the pleadings
at the federal courthouse in Philadelphia, or by requesting a copy from the Settlement Administrator or
Class Counsel.

You are receiving this Notice because you may be a class member for purposes of the Settlement.

Your rights may be affected whether or not you act in response to this Notice. Please read this
Notice carefully.

Why you have been sent this Notice

The Settlement is for two classes. According to the Bank’s records, you are a member of one or both of
these classes, as indicated at the top of this page.

The relevant time period for the Settlement (the “Class Period”) is from October 5, 2010 through the
date the Court finally approves the settlement.

Class 1 - the Post-Repossession Notice Class is defined as: All borrowers (i) who entered into an
auto loan for personal, family, or household purposes; (ii) whose motor vehicle was repossessed by the
Bank; (ili) whose mailing address at the time of the repossession, according to the Bank’s business
records, was in Pennsylvania; and (iv) to whom the Bank sent a Post-Repossession Notice during the
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EXHIBIT B

Class Period that stated a minimum redemption period of fewer than fifteen (15) days from the date of the
Post-Repossession Notice.

Class 2 — the Post-Sale Notice Class is defined as: All borrowers (i) who entered into an auto loan for
personal, family, or household purposes; (ii) whose motor vehicle was repossessed by the Bank; (iii)
whose motor vehicle was sold by the Bank during the Class Period; (iv) whose mailing address and/or
whose co-obligor’s mailing address at the time of the sale of the vehicle, according to the Bank’s business
records, was/were in Pennsylvania; and (v) to whom the Bank did not mail a separately addressed Post-
Sale Notice after the sale of the motor vehicle or to whose co-borrower on the auto loan the Bank did not
mail a separately addressed Post-Sale Notice after the sale of the motor vehicle.

Brief Summary of Settlement Benefits

The Settlement will provide several benefits to the class members.
Settlement Payments

Class 1: Members of Class 1 will receive an estimated net settlement payment of approximately $1,870
for auto foans with only one borrower, or $935 per co-borrower for auto loans with two co-borrowers.
These amounts are estimates, and the actual cash payments could be smaller or larger than the
estimates. If after your vehicle was repossessed you reinstated your loan, got your vehicle back, and
have an outstanding loan balance with the Bank, the Bank first will apply your settlement payment to the
balance of your auto loan and then pay the excess amount, if any, to you.

Class 2: Each member of Class 2 will receive an estimated net settlement payment of approximately
$140. This amount is an estimate, and the actual cash payments could be smaller or larger than the
estimates.

Refund of Certain Deficiency Balance Payments

Both Classes: The Bank has agreed to refund to the class members any payments the class members
made toward their deficiency balances between April 24, 2017 and the date when the Court finally
approves the settlement. If after your vehicle was repossessed you reinstated your loan, got your vehicle
back, and have an outstanding loan balance with the Bank, the Bank will not refund the payments you
made toward the outstanding balance.

Compromised and Extinguished Deficiency Balances

Both Classes: The balance remaining on an auto loan after the financed vehicle is repossessed and
sold by a bank or financing company is called a “deficiency balance.” In connection with the Settlement
Agreement, the Bank has agreed to compromise and permanently extinguish the disputed deficiency
balances the Bank claims are remaining on the auto loans of the members of Class 1 and Class 2,
excluding those class members whose vehicle was repossessed, reinstated their loan, and got their
repossessed vehicle back, and have an outstanding loan balance with the Bank. For those persons, the
Bank is not waiving the balance on their auto loan. If you are one of those class members, you are part of
the Reinstatement Sub-class. Please check above to determine which class you are in.

Request to Delete Credit Reporting

All Classes: The Bank has agreed to submit requests to the three major credit reporting agencies —
Experian, Equifax, and TransUnion — to delete the credit reporting related to the class members’ auto
loans.

Claims Preserved

Both Classes: You may have narrowly defined additional claims, as described in the Settlement
Agreement, which you may pursue against Capital One. There is no guarantee that you are eligible for
these narrowly defined additional claims or that the law will afford you any relief.

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EXHIBIT B

Your Options

At this time, you are assumed to be a class member who is participating in the Settlement. Therefore,
your rights will be affected even if you do nothing. Please read this Notice carefully.

The following is a general summary of the actions you can take and the results of those actions. If you
want to have a detailed discussion regarding your specific situation or have other questions or concerns,
you may contact Class Counsel at [toll-free number].

 

YOUR ACTION

RESULT OF THAT ACTION

 

DO NOTHING

You remain in the Settlement. If the Settlement is approved, you will
receive a settlement payment and the other benefits summarized above,
and, in exchange, you give up the right to sue the Bank for matters
concerning your auto loan and the repossession of your vehicle as set forth
in the Settlement Agreement, except for narrowly-defined exceptions
described in the Settlement Agreement. See, Section 14 below.

 

ASK TO BE EXCLUDED

You are removed from the Settlement. You will not receive a settlement
payment or the other benefits summarized above. However, this is the
only option that allows you to pursue your own lawsuit or to participate in
any other lawsuit against the Bank concerning your auto loan or the
repossession of your vehicle.

The deadline for you to submit your request to be excluded is [DATE],
forty-five (45) days after the date of this Notice, so you must act promptly.

 

 

OBJECT TO If you object to the Settlement, you are still in the Settlement, but you have
SETTLEMENT notified the Court in writing that you don't like the Settlement and why.
The deadline for you to submit an objection is [DATE], forty-five (45) days
after the date of this Notice, so you must act promptly.
OBJECT TO If you are a co-borrower, you may also object to the equal allocation
ALLOCATION OF between co-borrowers of the settlement payments and/or the refund of
SETTLEMENT AND deficiency payments. This is not the same as objecting to the Settlement.

REFUND PAYMENTS
(CO-BORROWERS
ONLY)

The deadline for you to submit an objection to the payment allocation is
[DATE], forty-five (45) days after the date of this Notice, so you must act

promptly.

 

 

GO TO THE HEARING
WHERE THE COURT
CONSIDERS WHETHER
TO APPROVE THE
SETTLEMENT

 

You are still in the Settlement and get the benefits of the Settlement, if
approved by the Court. You do not need to attend the hearing to get the
benefits of the Settlement, but you are invited to attend and will be afforded
an opportunity to speak in Court about the fairness of the Settlement
(should you choose to do so) or, if applicable, why any belatedly submitted
objection or request for exclusion should be considered.

 

 
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EXHIBIT B

 

WHAT THIS NOTICE CONTAINS

 

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18. What happens if | voluntarily surrendered my vehicle, redeemed my vehicle, or reinstated my ACCOUNT? ...........cceeee 9
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24. If | do not exclude myself, can | sue the Bank for the same thing later?...........ccccsssssesssessssesseesecenesssesenssstatses .10
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23. Do | have a lawyer in the Case? oo... ce ccccsnsecstsevsesesrssesssencessssscenensneseceusssvnessosecsesesseuseseesueesususeessusesavauersuaeguessasssesssunsanens 10
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OBJECTING TO THE SETTLEMENT OR OBJECTING TO THE DISTRIBUTION/REFUND .............ccccccescssessscsssesssscsesssesnessnsseasneaneves 11
25. How do | tell the Court if | do not like the Settlement? oo. sssecessscetssseessnseccesseessseeesesesessseuavsvaseegesusevaversaeenseeses 11
26. \f | am a co-borrower, can | object to the equal division of the cash payments and/or deficiency payment refunds as
between both CO-DOrOWeLs? - 0... eeeceseseseceeesessennerneacssscseaeseneuseseseeesesessussaesenesseuersessenenaauestesesssasesaeetaseesestaestensassueeeses 11
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28. When and where will the Court decide whether to approve the Settlement? ..o... oo... cecscccscssescenescececessevsessenenevseacs 12
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30. May ! speak at the hearing?..........ccsssessssesessseseeaseneasees we 12
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EXHIBIT B

BASIC INFORMATION
1. Why is there a Notice?

A Court has authorized this Notice because you have a right to know about the proposed Settlement of
the Lawsuit and about all of your options before the Court decides whether to give final approval to the
Settlement. This Notice explains the Lawsuit, the proposed Settlement, and your legal rights. If the Court
approves the Settlement, and after any appeals are resolved, the Settlement Administrator will make the
payments that the Settlement allows. United States District Judge Harvey Bartle Ill of the United States
District Court for the Eastern District of Pennsylvania is overseeing the Lawsuit. The name of the Lawsuit
is Langer, et al. v. Capital One Auto Finance, a division of Capital One, N.A., No. 2:16-cv-06130-HB. In
this Notice, Defendant Capital One Auto Finance, a division of Capital One, N.A., is called the “Bank,”
and the people who sued the Bank are called the “Plaintiffs.”

2. What is this Lawsuit About?

The Plaintiffs have claimed, among other things, that the Bank violated Pennsylvania law in two ways: (1)
by failing to send its borrowers proper post-repossession consumer disclosure notices describing their
rights after it repossessed a financed vehicle (“Post-Repossession Notices"); and (2) by failing to send
a separate disclosure notice to each co-borrower after the Bank sold the repossessed vehicle (“Post-Sale
Notices”). The Bank denies that it did anything wrong and has asserted a variety of defenses. The Bank
further asserts that it has the right to pursue the collection of the outstanding balances of the borrowers’
loans following the sales of the repossessed vehicles, which are referred to as “deficiency balances.”
Plaintiffs dispute that the Bank can pursue collection of the borrowers’ deficiency balances. These issues
have not yet been decided by the Court, and, if this Settlement is approved, these issues will not be
resolved on the merits.

3. Why is this a Class Action?

in a class action, one or more people called “representative plaintiffs” sue on behalf of themselves and
other people with similar claims. All of these people together are the “class” or “class members.” In this
Lawsuit, the Plaintiffs, Randy Langer and James Langer, are the representative plaintiffs. If this
Settlement is approved, the Settlement will resolve the claims of all of the class members except for those
individuals who exclude themselves from the class or pursue a claim that is expressly preserved by the
Settlement Agreement. For purposes of this Settlement, you are a class member.

4, Why is there a Settlement?

The Court has not decided in favor of the Plaintiffs or the Bank. Instead, both sides have agreed to a
Settiement. By agreeing to this Settlement, both sides avoid the cost and risk of a trial, and the
individuals affected may decide whether to participate in the Settlement. The Plaintiffs and their attorneys
think the Settlement is best for all class members. Without the Settlement, there would be a trial, which
could result in a greater payment to class members, a smaller payment to class members, or no payment
at all to class members, and could result in class members being held liable for the deficiency balances
which, though disputed, the Bank claims against them. Additionally, the settlement provides very
substantial benefits, including cash settlement payments, the compromise and extinguishment of disputed
deficiency balances, the refund of payments made toward the deficiency balances on or after April 24,
2017, and requests to the credit reporting agencies to delete the class members’ trade lines related to
their auto loans with the Bank. The Settlement does not mean that the Bank did anything wrong.

WHO IS IN THE SETTLEMENT?
If you received this Notice in the mail, the Bank's records indicate you are part of one or both of the

classes and are included in this Settlement. But even if you did not receive a mailed notice, you may still
be a class member and included in this Settlement, as described below.
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EXHIBIT B

5. How do! know if | am part of the Settlement?

You are included in Class 1 if:

You financed a motor vehicle primarily for personal, family, or household use, pledging the
vehicle as collateral;

The Bank issued your auto loan or your auto loan was assigned to the Bank;
Your vehicle that was pledged as collateral was repossessed by or at the direction of the Bank;

You had a Pennsylvania mailing address, according to the Bank's records, as of the date of the
repossession; and,

Sometime between February 1, 2015 and July 29, 2015, inclusive, the Bank sent you a Post-
Repossession Notice that stated a minimum redemption period of fewer than fifteen (15) days
from the date of the Post-Repossession Notice.

You are included in Class 2 if:

You financed a motor vehicle primarily for personal, family, or household use, pledging the
vehicle as collateral;

The Bank issued your auto loan or your auto loan was assigned to the Bank;
Your vehicle that was pledged as collateral was repossessed by or at the direction of the Bank;
The Bank sold your repossessed vehicle;

Either you or the co-borrower on your loan had a Pennsylvania mailing address, according to the
Bank's records, as of the date of the sale of the vehicle; and

At any time on or after October 5, 2010 through June 9, 2017, the Bank failed to mail you or the
co-borrower on your loan a separately addressed Post-Sale Notice explaining the post-sale
deficiency balance on the loan.

6. What if | am not sure whether | am included in the Settlement?

If you are not sure whether you are included in the Settlement, you may call Class Counsel at [toll free
number] with questions. You may also contact the Settlement Administrator below:

CAPITAL ONE CLASS SETTLEMENT
[Settlement Administrator's name]
[mailing address]

[email]

[toll free number]

THE SETTLEMENT BENEFITS

7. What does the Settlement provide?

lf the Settlement is approved and becomes final, it will provide, among other things, the following benefits:

A total cash settlement payment of $6.5 million (see Question 8), to be paid to the class members
after the deduction of Class Counsel’s attorneys’ fees and costs, incentive awards to the
Plaintiffs, and settlement administration costs (see Question 24);
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EXHIBIT B

e Refunds of the payments class members made toward their deficiency balances on or after April
24, 2017 (see Question 9);

® The compromise and extinguishment of the class members’ disputed deficiency balances,
totaling approximately $27.4 million (see Question 10); and

e Requests to the credit reporting agencies to delete the credit trade lines associated with the class
members’ auto loans with the Bank (see Question 11).

More details are in the Settlement Agreement, which is available to be reviewed at [website address] or
by accessing the record for this lawsuit at the Clerk's office at the Federal Court located at 601 Market
Street, Philadelphia, PA 19106.

8. How much will | receive?

The Bank has agreed to pay a settlement amount of $6,500,000.00. After deducting Class Counsel's
attorneys’ fees and costs, the settlement administration costs, and incentive awards to the Plaintiffs,
66.7% of the net settlement will be paid to Class 1 members, and 33.3% of the net settlement will be paid
to Class 2 members.

(a) Class 1 Payments

The Class 1 settlement payments will be made in equal payments for each auto loan at issue, with
estimated net settlement payments of approximately $1,870 each for auto loans with only one borrower,
and estimated net settlement payments of $935 per co-borrower for auto loans with two co-borrowers.
These amounts are estimates, and the actual cash payments could be smaller or larger than these
estimates. If after your vehicle was repossessed you reinstated your loan, got your vehicle back, and
have an outstanding loan balance with the Bank, the Bank first will apply your settlement payment to the
balance of your auto loan and then pay the excess amount, if any, to you. If you had more than one
vehicle repossessed by the Bank, you will be entitled to such a payment for each repossessed vehicle. If
the same vehicle was repossessed more than once, you will receive one payment.

(b) Class 2 Payments

The Class 2 settlement payments will be made in equal payments to each Class 2 member, with an
estimated net settlement payment of approximately $140 for each Class 2 member. This amount is an
estimate, and the actual cash payments could be smaller or larger than these estimates. If you had more
than one vehicle repossessed by the Bank, you will be entitled to such a payment for each repossessed
vehicle. If the same vehicle was repossessed more than once, you will receive one payment.

9. What is the payment refund benefit?

lf the Bank received any payments made on or after April 24, 2017 to a deficiency balance on your auto
loan, the Bank has agreed to refund you 100% of your such payments. If after your vehicle was
repossessed you reinstated your loan, got your vehicle back, and have an outstanding loan balance with
the Bank, the Bank will not refund the payments you made toward the outstanding balance. If that is the
case you are a member of the Reinstatement Sub-class, in which case the cash payment you otherwise
would receive will be paid towards your outstanding auto loan. If, with this payment, your auto loan will
be satisfied, you will receive the balance of any remaining portion of your cash benefit.

10. What is the deficiency balance elimination benefit?

A deficiency balance is the amount that the Bank claims you still owe on your loan after the sale of your
repossessed vehicle. Plaintiffs dispute that any deficiency balance is owed by any class member. As
part of the Settlement, the Bank agrees to compromise and extinguish all of the class members’ disputed
deficiency balances excluding those class members who fall within the Reinstatement Sub-class (see
Question 12).
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EXHIBIT B

Example: At the time the Bank sold Amanda's repossessed vehicle, she owed $10,000 on her loan. The
Bank incurred $250 to repossess her vehicle and $250 to sell the vehicle. Amanda's vehicle sold for
$6,000 at auction. Amanda's deficiency balance would be $4,500.

Catculation
[($10,000 + $250 + $250) - ($6,000)) = $4,500
Total amount owed by Amanda Amount from vehicle sale Deficiency Balance

11. What is the credit reporting benefit?

As part of the Settlement, the Bank will ask Experian, Equifax, and TransUnion to delete the credit trade
line associated with your auto loan with the Bank. Itis likely that your credit score will increase as a result
of this benefit unless you filed for bankruptcy; however, there is no guarantee as to this positive effect.

12. What if | reinstated my loan?

If after the Bank repossessed your vehicle you reinstated your loan by paying the past due amounts, and
the Bank has not subsequently repossessed and sold your vehicle, you are a member of the
Reinstatement Sub-class.

(a) Will | receive the settlement payment?

Yes. You will receive the settlement payment described in Question 8, but the settlement payment will be
first credited to your outstanding loan balance, with any excess then being paid to you.

(b) Will | receive the payment refund benefit?

No. You will not receive a deficiency balance payment refund, as described in Question 9 because your
loan does not have a deficiency balance.

(c) Will | receive the deficiency balance extinguishment benefit?

No. You will not receive the deficiency balance extinguishment benefit described in Question 10 above
because your loan does not have a deficiency balance.

(d) Will | receive the credit reporting benefit?

Yes. You will receive the credit reporting benefit described in Question 11.

(e) If | stop making payments or default on my auto loan in the future, can the Bank attempt to
collect money from me?

Yes. If you default on your reinstated loan after the date when this Settlement is finally approved by the
Court, the Bank will be permitted to repossess your vehicle again and attempt to collect on the debt which
may be owed by you. Your and the Bank’s legal rights are not affected in this regard as a result of this
Settlement, and, if you default on your loan, the Bank retains its rights to file a lawsuit against you,
repossess the vehicle, and/or pursue a claim against you for any remaining balance of the loan. Your
rights are preserved to defend any such claim, except for the alleged statutorily deficient post-
repossession consumer disclosure notices which are the subject of this litigation.

13. When will | receive my benefits?
Class members will receive their payments and other benefits after the Court grants final approval of the

Settlement (see Question 28) and after any appeals are resolved. If there are appeals, resolving them
can take time. Please be patient.
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EXHIBIT B

14. What am | giving up and what claims might | still have to pursue if | remain in the Settlement?

Unless you exclude yourself from the Settlement, you will remain in the Settlement and you will give up
your right to sue (or continue a lawsuit against) the Bank for the same type of claims as are being
resolved by this Settlement, except for narrowly-defined exceptions described in the Settlement
Agreement. The claims which are released and preserved are set forth in the Settlement Agreement.
Please pay particular attention to Section 9. The full Settlement Agreement is available at [website
address]. The Settlement Agreement specifically describes the released and preserved claims, so read it
carefully. There is no guarantee that you are eligible or will be permitted to pursue these preserved
claims. Class Counsel has commenced a different class action lawsuit (Dudo v. Capital One, 2:19-cv-
OOO98MHR (W.D. PA) (the “Dudo Action”) in which you may be a putative class member regarding your
potentially preserved claims. Unless you are a putative class member in the Dudo Action, Class Counsel
has not taken any steps to pursue these potentially preserved claims. If you have any questions, you can
discuss this matter with Class Counsel at no charge. Class Counsel’s phone number is [toll-free number].

15. Will this affect my taxes?

We cannot give you a definitive answer in this Notice. You should consult a tax professional to
provide you with this answer because all situations are unique. Because there is a cash benefit, you may
need to pay taxes on this part of the settlement. Judge Bartle has ordered the Bank not to send any IRS
Forms 1099-C as a result of the compromise and extinguishment of the class members’ disputed
deficiency balances as part of this Settlement (for those class members who are not members of the
Reinstatement Sub-class). Notwithstanding the fact that an IRS Form 1099-C will not be issued to you as
a result of the extinguishment of your compromised deficiency balance as part of this Settlement, you still
may be required to pay tax on the amount of the purported deficiency balance and, therefore, should
consult a tax professional right away.

You are urged to contact a tax professional regarding the benefits of this Settlement for your
particular circumstances.

16. What happens if this notice is addressed to a class member that has passed away?

If proper documentation of the death of the class member is promptly sent to the Settlement
Administrator, a check will be issued (or re-issued) to the class member's estate or next of kin, as may be
applicable. If the class member is deceased, please send a copy of the death certificate to the
Settlement Administrator at the address listed in Question 6 and contact the Settlement Administrator at
[toll-free number] or Class Counsel at [toll-free number] for more information.

17. What happens if this debt was discharged in or is presently included in a bankruptcy?

If the loan obligation was discharged in bankruptcy (yours and/or your co-borrower’s bankruptcy) or is
presently part of a bankruptcy proceeding, then you should consult a bankruptcy attorney regarding this
matter. You may have an obligation to notify the bankruptcy trustee regarding the cash you are expected
to receive.

18. What happens if | voluntarily surrendered my vehicle, redeemed my vehicle, or reinstated my
account?

Because the lawsuit principally challenges the content of the post-repossession consumer disclosure
notices and is not based on actual harm you may have suffered, you will still have the right to share in all
of the monetary and equitable relief, including the request for deletion of your credit trade line. If you
reinstated your account and you default on your reinstated loan after the Settlement is approved, you will
be a member of the Reinstatement Sub-class, and the Bank will be permitted to repossess your vehicle
again and attempt to collect on the debt which may be owed by you (see Question 12).
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EXHIBIT B

HOW TO GET BENEFITS

19. Do | need to do anything to get a cash payment, to get the credit reporting benefit, or to have
my alleged but disputed deficiency balance eliminated?

No. Assuming that the Court approves the Settlement, you do not need to do anything further in order to
remain a part of the Settlement and to receive a settlement payment, the credit reporting benefit, and the
extinguishment of your compromised deficiency balance (if you are not a member of the Reinstatement
Sub-class). If you reinstated your account, got your vehicle back, and have yet to fully satisfy the loan
obligations, then you will receive the credit repair benefit and your settlement payment will be credited to
the outstanding balance of your loan with the Bank, and if any money is left over, the balance will be sent
to you.

EXCLUDING YOURSELF FROM THE SETTLEMENT

If you don't want a settlement payment or the other benefits from this Settlement, and you instead want to
keep the right to sue or continue to sue the Bank on your own about the issues in this case, then you
must take steps to exclude yourself from (or “opt out” of) the Settlement.

20. How do | exclude myself from the Settlement?

In order to exclude yourself, send a letter that clearly states that you want to be excluded from the
Settlement. Be sure to include your name, address, email (if available), telephone number, and
signature. You must send a written exclusion request by e-mail to [email address] or by mail to [mailing
address]. The exclusion request must be postmarked or sent with a transmittal date no later than
[DATE], forty-five (45) days after the date of this Notice. The phone number for the Settlement
Administrator is [toll-free number].

21. If | do not exclude myself, can | sue the Bank for the same thing later?

No. Unless you exclude yourself, you give up any right to sue the Bank for the claims that this Settlement
resolves on your behalf, except under very limited exceptions which are detailed in the Settlement
Agreement. If you have a pending lawsuit, speak to your lawyer in that case immediately because your
legal rights may be adversely affected by this Settlement. You must exclude yourself from this Settlement
in order to start or to continue your own lawsuit for the same or similar claims, absent limited exceptions
described in the Settlement Agreement. Your rights may be affected by this Settlement.

22. If | exclude myself, can | still benefit from this Settlement?

No. If you exclude yourself, you will not receive any money from this lawsuit or Settlement, the
compromise and extinguishment of your deficiency balance, or any other benefit in connection with the
Settlement.

THE LAWYERS REPRESENTING YOU
23. Do | have a lawyer in the case?

Yes. The Court has approved Richard Shenkan and the law firm of Shenkan Injury Lawyers, LLC. to
represent you and other class members. This lawyer and law firm are called “Class Counsel.” You will
not be charged individually for this legal service; rather, Class Counsel’s fees will be paid from the
Settlement Fund with the approval of the Court. If you want to be represented by your own lawyer, you
may hire one at your own expense. Class Counsel's phone number is [toll-free number]. You can speak
with Class Counsel at no charge about this case.

24. How will the lawyers be paid?

Class Counsel will ask the Court for attorneys’ fees of up to $2.6 million and expenses of up to
$150,000.00, including settlement administration costs. An attorneys’ fee in this amount represents

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EXHIBIT B

approximately 7.8% of the value of the aggregate benefit including the cash payment and the
compromise and extinguishment of the disputed deficiency balances. The value of the credit repair will
vary based upon each class member; however, these are significant additional benefits. The fees and
expenses awarded by the Court will be paid out of the $6.5 million settlement fund. Class Counsel will
also request special service payments of no more than $15,000 each for Plaintiffs for their services as
class representatives for the Class. These service payments also will be paid from the settlement fund.
The Court could decide to award less than the amounts requested for fees and service payments.

OBJECTING TO THE SETTLEMENT OR OBJECTING TO THE DISTRIBUTION/REFUND
25. How do | tell the Court if | do not like the Settlement?

If you are a class member, you can object to the Settlement if you don't like any part of it. You should
state why you object and why you think the Court should not approve the Settlement. The Court will
consider your views. To do so, you must timely send a written communication by e-mail to [email
address] or by mail to [mailing address]. The objection must be postmarked or sent with a transmittal
date no later than [DATE], forty-five (45) days after the date of this Notice. The letter must include the
following:

e Astatement that you object to the Settlement;
e Your full name, address, email address (if available), and telephone number;
e The specific reasons why you object to the Settlement; and
e Your signature.
The phone number for the Settlement Administrator is [toll-free number].

26. If | am a co-borrower, can | object to the equal division of the cash payments and/or deficiency
payment refunds as between both co-borrowers?

Yes. To do so, you must timely send a written communication by e-mail to [email address] or by mail to
[mailing address]. The objection must be postmarked or sent with a transmittal date no later than
[DATE], forty-five (45) days after the date of this Notice. The letter must include the following:

e Astatement that you are a co-borrower and object to an even split of the cash payment and/or
deficiency payment refund;

e Your full name, address, email address (if available), and telephone number;

e The specific reasons why you object to an even split of the refund monies (e.g., “I paid all of the
loan payments myself.”); and

e Your signature and the signature of your co-borrower.
The phone number for the Settlement Administrator is [toll-free number].
27. What is the difference between objecting and asking to be excluded?

Objecting to the Settlement is informing the Court that you don't like something about the Settlement, and
that you, for a clearly stated reason, do not want the Settlement to be approved or that you object to a
particular part of the Settlement. You can object only if you don't exclude yourself from the Settlement.
Excluding yourself is informing the Court that you don't want to be part of the Settlement. If you exclude
yourself, you have no basis to object, because the Settlement no longer affects you.

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EXHIBIT B

THE COURT’S FAIRNESS HEARING

 

The Court will hold a hearing to decide whether to approve the Settlement. You may attend and you may
ask to speak, but you do not have to do so.

28. When and where will the Court decide whether to approve the Settlement?

The Court will hold a fairness hearing before United States District Judge Harvey Bartle II| on [DATE] at
[TIME] in Courtroom 16-A, United States Courthouse, 601 Market Street, Philadelphia, PA 19106. The
hearing may be moved to a different date or time without additional notice, so if you intend to attend the
hearing, it is a good idea to confirm in advance that the date and time of the hearing has not changed.
You may confirm this information by checking [website address] or calling [toll-free number]. At this
fairness hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate. If
there are objections, the Court will consider them and will listen to class members who ask to speak at the
hearing. Similarly, if you are a co-borrower and object to the even split of the cash payment and/or the
deficiency payment refund as between both co-borrowers, the Court will decide these matters as well at
the hearing, absent extenuating circumstances, unless you are able to resolve your differences amongst
you and your co-borrower with the aid of Class Counsel. The Court may also decide several other
aspects of the Settlement including how much to pay Plaintiffs for their service awards and Class Counsel
for their services and expenses. Following the hearing, the Court will decide whether to approve the
Settlement. We do not know how long these decisions will take.

29. Do | have to attend the fairness hearing?

No. Class Counsel will answer questions the Court may have. But, you are welcome to come at your
expense. If you file an objection, you do not have to come to Court to talk about it, but you may. As long
as you timely filed your written objection the Court will consider it. You may also pay your own lawyer to
attend, but it is not necessary.

30. May | speak at the hearing?

Yes, any class member that has not excluded himself/herself from the Settlement may speak at the
fairness hearing.

GETTING MORE INFORMATION

31. How do | get more information?

This notice briefly summarizes the key aspects of the proposed Settlement. More details are in the
Settlement Agreement. You can get a copy of the Settlement Agreement and other important case
documents at [website address]. You may also examine these documents in person during regular office
hours at the Clerk’s Office of the Federal Court located at 601 Market Street, Philadelphia, PA 19106.
You may contact Class Counsel with questions at [toll-free number] or rshenkan@shenkanlaw.com. You
may also contact the Settlement Administrator with any questions at [toll-free number]. You should not
call the Bank or the Court.

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EXHIBIT C

[Form Explanatory Letter for Settlement Payments]
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EXHIBIT C

[PRINTED ON CLASS COUNSEL’S LETTERHEAD]
[Date]

RE: Your Class Action Settlement
Langer v. Capital One Auto Finance, No. 2:16-cv-06130-HB
United States District Court for the Eastern District of Pennsylvania

Dear Class Member:

The Court has appointed my law firm to represent you, as a class member, with respect to the
class action settlement with Capital One Auto Finance, a division of Capital One, N.A. (the
“Bank”) in the above-referenced consumer class action.

Settlement Payment: Please be advised that as part of this settlement, you are entitled to
receive a cash payment. Accordingly, enclosed with this letter is a settlement check payable to
you. Please promptly cash or deposit the check.

Credit Reporting Benefit: As part of the settlement, the Bank also has agreed to submit
requests to the major credit reporting agencies, Experian, Equifax, and TransUnion, to delete the
trade line associated with your auto loan with the Bank. If you need assistance accessing your
credit report, you can contact me at [toll-free number].

Other Important Information: To learn more about the benefits of this settlement that may
apply to you, please visit [website address], which contains important information regarding this
matter.

If you have any questions or concerns of any kind regarding this class action settlement, please
feel free to contact me at [toll-free number] or the Settlement Administrator at [toll-free number].
Thank you very much for your attention to this matter.

Sincerely,
SHENKAN INJURY LAWYERS, LLC.

Richard Shenkan

Enclosure
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EXHIBIT D

[Form Explanatory Letter for Credits to Loan Accounts of Reinstatement Sub-Class Members]
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EXHIBIT D

[PRINTED ON CLASS COUNSEL’S LETTERHEAD]
[Date]

RE: Your Class Action Settlement
Langer v. Capital One Auto Finance, No. 2:16-cv-06130-HB
United States District Court for the Eastern District of Pennsylvania

Dear Class Member:

The Court has appointed my law firm to represent you, as a class member, with respect to the
class action settlement with Capital One Auto Finance, a division of Capital One, N.A. (the
“Bank”) in the above-referenced consumer class action.

A Credit to Your Auto Loan Account with the Bank: The settlement payment to you as a
class member in the above-referenced consumer class action settlement is $[amount]. Please be
advised that the Bank is crediting this amount to the balance of your auto loan account with the
Bank. If this settlement payment credit pays off the balance of your auto loan account with the

Bank in its entirety, any remaining amount of your settlement payment will be sent to you by
check.

Credit Reporting Benefit: As part of the settlement, the Bank also has agreed to submit
requests to the major credit reporting agencies, Experian, Equifax, and TransUnion, to delete the
trade line associated with your auto loan with the Bank. If you need assistance accessing your
credit report, you can contact me at [toll-free number].

Other Important Information: To learn more about the benefits of this settlement that may
apply to you, please visit [website address], which contains important information regarding this
matter.

If you have any questions or concerns of any kind regarding this class action settlement, please
feel free to contact me at [toll-free number] or the Settlement Administrator at [toll-free number].
Thank you very much for your attention to this matter.

Sincerely,
SHENKAN INJURY LAWYERS, LLC.

Richard Shenkan
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EXHIBIT E

[Form Explanatory Letter for Post-Stay Return Payments]
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EXHIBIT E

[PRINTED ON CLASS COUNSEL’S LETTERHEAD]
[Date]

RE: Your Class Action Settlement
Langer v. Capital One Auto Finance, No. 2:16-cv-06130-HB
United States District Court for the Eastern District of Pennsylvania

Dear Class Member:

The Court has appointed my law firm to represent you, as a class member, with respect to the
class action settlement with Capital One Auto Finance, a division of Capital One, N.A. (the
“Bank”) in the above-referenced consumer class action.

Your Refund: The Bank has agreed to refund to the class members any payments they made
toward the deficiency balances for their auto loan accounts with the Bank on or after April 24,
2017, the date when Plaintiffs and the Bank commenced settlement discussions in the above-
referenced consumer class action. The Bank’s records reflect that you made payments toward
the deficiency balance for your auto loan account with the Bank on or after April 24, 2017.
Accordingly, enclosed with this letter is a refund check for the total amount of such payments. If
you had a co-borrower on the account, then the total amount of the refund is evenly split between
each co-borrower. Please promptly cash or deposit the check.

Credit Reporting Benefit: As part of the settlement, the Bank also has agreed to submit
requests to the major credit reporting agencies, Experian, Equifax, and TransUnion, to delete the
trade line associated with your auto loan with the Bank. If you need assistance accessing your
credit report, you can contact me at [toll-free number].

Other Important Information: To learn more about the benefits of this settlement that may
apply to you, please visit [website address], which contains important information regarding this
matter.

If you have any questions or concerns of any kind regarding this class action settlement, please
feel free to contact me at [toll-free number] or the Settlement Administrator at [toll-free number].

Thank you very much for your attention to this matter.

Sincerely,
SHENKAN INJURY LAWYERS, LLC.

Richard Shenkan

Enclosure
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EXHIBIT F

[Form Explanatory Letter for Re-Issued Settlement Payments]
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EXHIBIT F

[PRINTED ON CLASS COUNSEL’S LETTERHEAD]
[Date]

RE: Your Class Action Settlement
Langer v. Capital One Auto Finance, No. 2:16-cv-06130-HB
United States District Court for the Eastern District of Pennsylvania

Dear Class Member:

The Court has appointed my law firm to represent you, as a class member, with respect to the
class action settlement with Capital One Auto Finance, a division of Capital One, N.A. (the
“Bank”) in the above-referenced consumer class action.

Settlement Payment: Please be advised that as part of this settlement, you are entitled to
receive a cash payment. A settlement check was previously mailed to you, but you did not cash
or deposit the settlement check. Accordingly, enclosed with this letter is a re-issued settlement
check payable to you. Please promptly cash or deposit the check.

Credit Reporting Benefit: As part of the settlement, the Bank also has agreed to submit
requests to the major credit reporting agencies, Experian, Equifax, and TransUnion, to delete the
trade line associated with your auto loan with the Bank. If you need assistance accessing your
credit report, you can contact me at [toll-free number].

Other Important Information: To learn more about the benefits of this settlement that may
apply to you, please visit [website address], which contains important information regarding this
matter.

If you have any questions or concerns of any kind regarding this class action settlement, please
feel free to contact me at [toll-free number] or the Settlement Administrator at [toll-free number].
Thank you very much for your attention to this matter.

Sincerely,
SHENKAN INJURY LAWYERS, LLC.

Richard Shenkan

Enclosure
